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               CLERK, U.S. DISTRICT COURT




                      1/29/2018                    January 29, 2018
             CENTRAL DISTRICT OF CALIFORNIA
               BY: ___________________ DEPUTY           AK
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                                                                                  89


 1                 So Jeremy automatically lost all of those

 2    six people right when they first joined.           A lot of

 3    people tell me guys, they’re like, you know what I’m

 4    going to do, Beau, I’m going to go ahead and start

 5    marketing at RISE, and once I have about, you know,

 6    five or ten $1 trials and I know some -- you know,

 7    four or five of them bought RISE and I know that

 8    they’re about to buy ASCEND and PEAK, I’m going to go

 9    ahead and buy it before them so I get the money.

10                 Uh-uh.   Can’t do it.     They were already

11    locked to an ASCEND, PEAK and APEX advisory right when

12    they joined at $1 and it cannot change.           So you lost

13    them.     So Jeremy automatically lost all of those six

14    people at ASCEND, PEAK and APEX right when they first

15    joined.

16                 Out of those six people, how many of those

17    people do you think bought ASCEND and PEAK when they

18    first started?

19                 UNIDENTIFIED FEMALE:      Two.

20                 COACH BEAU:   Come on, guys.        Wake up.   How

21    many bought?

22                 UNIDENTIFIED MALE:      Three.

23                 COACH BEAU:   It’s close.        It was four of

24    them.     Remember that 73 percent.     Guess who got paid

25    all that money from ASCEND and PEAK?




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                                                                           2497
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                                                                                  90


 1                 UNIDENTIFIED MALE:     Leman.

 2                 UNIDENTIFIED FEMALE:     Leman.

 3                 COACH BEAU:   Yep, oh, my buddy, Leman,

 4    sitting down on the beach in the hammock, chilling,

 5    drinking a cold beverage, right?       So at the time when

 6    Jeremy started the business, he was positioned really

 7    to be the grunt, to do all the work, you know.        He was

 8    placing all the ads, calling back all his leads,

 9    following up with everyone and getting their questions

10    answered.    He was doing all that work to make the

11    $1,000 profit.

12                 His advisor above him, Leman, was positioned

13    to make the $6- and $10,000 profits from all of

14    Jeremy’s hard work.     So Jeremy, his first month, he

15    made $6,000 from those RISE sales.       Man, great job,

16    Jeremy.     Pat on the back.   So next to Jeremy write

17    down “6,000 bucks.”     Leman probably called Jeremy,

18    hey, man, I see that you’re rocking and rolling, good

19    job, keep it up, with a big smile.       Leman, off of

20    Jeremy, made the ASCEND and PEAK profits.         What’s

21    16,000 times 4?

22                 UNIDENTIFIED MALE:     64,000.

23                 COACH BEAU:   What’s 16,000 times 4?

24                 UNIDENTIFIED MALE:     64,000.

25                 UNIDENTIFIED MALE:     Sixty-four.




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                                                                           2498
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                                                                                  91


 1                 COACH BEAU:     64,000.

 2                 UNIDENTIFIED MALE:        Yeah.

 3                 COACH BEAU:     Six-four, 64,000 of profits.

 4    So next to Leman write down “64,000.”            You think

 5    Jeremy was happy about that when he found out?

 6                 GROUP:    No.   Nope.

 7                 COACH BEAU:     Jeremy’s calling corporate,

 8    hey, man, why aren’t these going to me?            I just talked

 9    to Lyle and he’s buying ASCEND and PEAK, why don’t I

10    get it?     Sorry, they were under Leman, you hadn’t

11    bought ASCEND and PEAK.       Oh, man, I didn’t know that.

12    Leman, 64 grand.       And I’m going to give you the names

13    of those four people who wanted to make money at

14    ASCEND and PEAK when they first got started and I want

15    you to write their names underneath ASCEND and PEAK.

16    There was four of them out of the six.

17                 So write their names underneath ASCEND and

18    PEAK.     Lyle, Darla, Susan and Dave.         Lyle, Darla,

19    Susan and Dave.       Lyle, Darla, Susan and Dave.       These

20    are the four people that wanted to make money at

21    ASCEND and PEAK when they got started.            They saw the

22    big picture.

23                 You guys see Dave’s name?         Have you ever had

24    to write down Dave’s name.       He’s the last of the four

25    underneath ASCEND and PEAK.




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                                                                           2499
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 1                 UNIDENTIFIED MALE:    Yep.

 2                 COACH BEAU:   Dave.   Next to Dave I want you

 3    to draw a little line and then write down “Donna.”

 4    Just draw a little squiggly line next to Dave’s name

 5    and write down “Donna” under ASCEND and PEAK.        I’ll

 6    come back to this and show you what I mean by Dave and

 7    Donna.   Did you get that?

 8                 UNIDENTIFIED MALE:    Yes.

 9                 COACH BEAU:   Good.   Here’s how the

10    compensation plan really works, guys.        If you’re not

11    ASCEND and PEAK in your business, it’s not really the

12    $6- and $10,200 profits that you have to pass up that

13    hurt you, but it’s the people that you have to pass up

14    that hurt you.     Because not only do you lose the $6-

15    and $10,000 profits, but you also lose that person and

16    you lose that person’s entire team forever, meaning

17    you lose all the residual income because you have no

18    down line.

19                 I’ll give you an example of what I mean.

20    You see where it says Dave and next to him I had you

21    write down “Donna”?

22                 UNIDENTIFIED MALE:    Mm-hmm.

23                 COACH BEAU:   Let me tell you what happened

24    with Dave.    Dave first started with Jeremy, he was a

25    children’s therapist up in Toronto.       At the time, they




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                                                                           2500
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                                                                                  93


 1    had a bunch of layoffs in the company, so he had to

 2    work crazy hours, like seven days a week at his job.

 3    Probably not legal, but he had to do what he had to do

 4    to keep his job, right?       Like a lot of us had to do.

 5    He had a really long commute in the morning.          He would

 6    leave about 7:30 in the morning, come back about 10:30

 7    at night.   Back then, you had to call your leads.         So

 8    realistically, there was no way he could really run

 9    his business.    I mean, you can’t start calling your

10    leads at 6:00 in the morning, right?

11                So when Dave first started, he was up-front

12    with Jeremy.    He told him that he would be able to do

13    anything with the business for about four months

14    because of his schedule.       And after that four-month

15    period, his contract finally came up for renewal with

16    the company and he wasn’t going to renew it.          So he

17    was just going to start here full-time at that point.

18                So Dave, after four months, decided to get

19    positioned at ASCEND and PEAK so he could get

20    qualified when he first started.          So he decided to get

21    positioned.     Is that the same thing as getting

22    positioned?

23                GROUP:   Nope.     No.

24                COACH BEAU:      No.     So he had to pull money

25    out of some investments.       It usually takes about five,




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                                                                           2501
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                                                                                  94


 1    maybe ten days to get your money out, right?          But

 2    guess what happened with Dave, like a lot of us.            He

 3    lost his patience.     He was waiting on his money to

 4    come in, but he was just like, you know what, I’m just

 5    going to go ahead and start marketing anyway because I

 6    don’t want to wait, I want to go ahead and make money,

 7    right?

 8              So he got his marketing all set up.          So four

 9    months later, he finally got started here.        So during

10    that ten days while he was waiting on his money to

11    come in, he brought on a lady named Donna.        You see

12    where I had you write down Donna’s name?

13              UNIDENTIFIED MALE:        Yep.

14              COACH BEAU:     So Donna bought RISE from Dave

15    and Dave made the $1,000 profit, but whose ASCEND and

16    PEAK team is Donna actually on?

17              GROUP:     Leman’s.     Leman’s.   Leman.

18              COACH BEAU:     Good old Leman.      Probably still

19    at the beach, right?    Why would she be on Leman’s?

20              UNIDENTIFIED MALE:        Because neither Jeremy

21    or Dave is at that level.

22              COACH BEAU:     Yeah.     So finally, Dave got

23    positioned at ASCEND and PEAK through Leman, right?

24    But Jeremy lost Dave and his team forever because

25    remember, before Dave can get qualified at ASCEND and




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                                                                           2502
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                                                                                  95


 1    PEAK, what does he first have to do?         He had to buy

 2    it, right?

 3                 UNIDENTIFIED MALE:     Right.

 4                 UNIDENTIFIED FEMALE:     Yes.

 5                 COACH BEAU:   And he was in the process of

 6    buying it, right?     And so Donna comes in and buys

 7    RISE, that puts her on Leman’s team.         Now, if we go

 8    back to Jeremy and he was qualified as ASCEND and PEAK

 9    right when he first got started and Dave got

10    positioned at ASCEND and PEAK through Jeremy or was in

11    the process of getting it through Jeremy, Donna would

12    have been on Jeremy’s ASCEND and PEAK team.

13                 And about a week and a half later when Donna

14    understood how you make money in the compensation

15    plan, guess what she wanted to do?       She wanted to make

16    money at ASCEND and PEAK.       And guess who made the $6-

17    and $10,200 profit again?

18                 GROUP:   Donna.   Leman.

19                 COACH BEAU:   Good old Leman.     And the same

20    thing for Lyle, Darla and Susan’s team.         You see,

21    because Jeremy only waited three weeks, maybe three

22    and a half weeks to get position from when he first

23    started, just off those four people in his first year,

24    he passed up over $160 grand to Leman.         I don’t know

25    where you guys live, but where I grew up, that will




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 1    make one heck of a living.

 2                That’s how you make money in the

 3    compensation plan, is you go out and you find a bunch

 4    of Jeremys, right?

 5                Now, I want to talk to you guys personally

 6    here, okay?     You might be saying, well, Beau, you

 7    know, ASCEND and PEAK and APEX, that’s a lot of money,

 8    right?   But is it?    Is it really a lot of money for a

 9    business?     You know, if you go look at buying a -- I

10    have an echo there.    Somebody got me on speaker.

11                If you go look at buying a business, a legit

12    business, and I’m an entrepreneur and I go look at

13    buying a business, I know it’s going to cost $100,000.

14    Do I say to myself, good lord, 100 grand?      No.   I say

15    this, okay, 100,000, that’s 1,250 a month over ten

16    years.   On a 100,000 business, my expenses I know

17    typically are going to run about 20 to 25 percent of

18    that per month.    So I know my expenses will be between

19    20- and 25,000 a month on a $100,000 business, right?

20    Typically, on a traditional business.

21                Now, if I’m going to buy the business, I’m

22    going to say, it’s got to at least bring in 35,000 or

23    35 percent, so I got a 10 percent profit margin per

24    month on this 100,000 or, you know, if you look at it

25    from the $25- to $35,000 cash flow, you know, about --




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 1     about 40 percent profit margin, right?

 2                 UNIDENTIFIED FEMALE:      Right.

 3                 COACH BEAU:   So that’s the way I look at a

 4     business.   That’s how I look at a business.         I don’t

 5     look at it and say, good lord, 100 grand, I got to

 6     invest 100 grand of my own money.        No, I don’t look at

 7     it that way.     You shouldn’t either.     Okay?    Look at a

 8     block of 100 grand as $1,250 a month.

 9                 If you go buy a car today -- and I’m asking

10     you guys -- what do you look at?       If you’re going to

11     go buy a $30,000 sedan, you look at if you can afford

12     the?

13                 UNIDENTIFIED MALE:     Financing.

14                 COACH BEAU:   Can I afford the what?

15                 UNIDENTIFIED MALE:     Payment.

16                 COACH BEAU:   The payments.        Most of you

17     aren’t going to go out and spend $30,000 cash on a

18     car, even though you should because you should never

19     finance bad debt, right?

20                 UNIDENTIFIED FEMALE:      Right.

21                 COACH BEAU:   You look at the payments.          What

22     is bad debt?     What is good debt?    Bad debt is a

23     vehicle.    Why is it bad debt?    Because as soon as you

24     make that purchase and you drive it off the lot, what

25     happens to it?




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 1                 UNIDENTIFIED FEMALE:        It loses its value.

 2                 COACH BEAU:     It goes down in value by about

 3     what, 15, 20 percent?

 4                 GROUP:   Yes.    Yep.

 5                 COACH BEAU:     Yeah.     Okay?   And does it pay

 6     for itself every month?       Is it spitting out --

 7                 UNIDENTIFIED FEMALE:        No.

 8                 COACH BEAU:     -- from its windshield, you

 9     turn the windshield wipers on and it gives you 650

10     bucks to pay your bill?

11                 UNIDENTIFIED FEMALE:        No.

12                 COACH BEAU:     No.     It’s not spitting out

13     money, it’s not an ATM.      It gets you from Point A to

14     Point B.    Hell, a bicycle does that or a beater, you

15     know, a $5,000 beater car does that.          Who are you

16     trying to impress?    Financial sense says you should

17     never borrow to get bad debt or to get something that

18     goes down in value, right?

19                 What about the biggest con of all time, a

20     mortgage?    A mortgage.    What does that get you 30

21     years of?

22                 UNIDENTIFIED FEMALE:        (Inaudible).

23                 UNIDENTIFIED MALE:        Payments.

24                 COACH BEAU:     Slavery.     Bondage.   Modern day

25     slavery.    Right?




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 1                UNIDENTIFIED FEMALE:        Right.

 2                COACH BEAU:        These gangster bankers are

 3     making two and three times the value off of your house

 4     on these payments that you’re paying them over 30

 5     years.   Ridiculous.    When you raise your kids, teach

 6     them to put at least 60 percent down on a house and

 7     make their payments every two weeks on a 15-year

 8     amortization max, preferably pay it off in seven

 9     years.   That’s how the rich or the wealthy teach their

10     kids.

11                B     , I’m sure you’ve got some insight on

12     that.

13                B           Definitely.

14                COACH BEAU:        A mortgage is bad debt, isn’t

15     it?

16                B           Yep.

17                COACH BEAU:    Because the mortgage -- the

18     house, is it paying for itself every month on a

19     typically, you know, three-two, three-bedroom, two-

20     bath home, one family?         Now, here’s a good way to do

21     it, if you want to do a mortgage right and you don’t

22     have the money to pay cash for it, you can go buy a

23     duplex, live in one side and rent the other side out

24     to pay for your payment.         Does that make sense?   So

25     now, it becomes good debt because hopefully it will go




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 1     up in value and it pays for itself, right?

 2                 UNIDENTIFIED FEMALE:     Right.

 3                 COACH BEAU:     So these are things you can

 4     start implementing now that you’re getting this to

 5     build your wealth in the future.         But there’s nothing

 6     better than a business, especially a business that

 7     costs you, you know, $1,500 to $2,000 a month that you

 8     can make $30,000 a month at, right?

 9                 UNIDENTIFIED FEMALE:     Right.

10                 COACH BEAU:     That’s the secret to building

11     wealth is cash flow.       Cash flow, cash flow, cash flow.

12     Because a $28,000 a month profit, that can pay off a

13     lot of things, get you a lot of freedom.         It can get

14     you, you know, a lot of things in life that you want,

15     right?    It really can.

16                 UNIDENTIFIED FEMALE:     Right.

17                 COACH BEAU:     Especially when you got

18     location freedom.     So do you guys understand where I’m

19     coming from now?     Do you understand the power of

20     positioning and working harder not smarter?

21                 GROUP:   Yes.    Yes.

22                 COACH BEAU:     I mean, working smarter not

23     harder.

24                 UNIDENTIFIED FEMALE:     That sounds better.

25                 COACH BEAU:     All right?    Working smarter not




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 1     harder.   So my question to you guys is on a scale of

 2     one to ten, was this call valuable to you?                    And I’ll

 3     start with you, DOne

 4                DOne           Yeah, that’s a ten.

 5                COACH BEAU:    Ten, good.           Thank you.         So I

 6     helped you.

 7                DOne           Yes.

 8                COACH BEAU:    Awesome.        LOne ?

 9                LOne                It’s a ten.

10                COACH BEAU:    Thank you.

11                LOne                Very helpful.

12                COACH BEAU:    LTwo        ?

13                LTwo                 I’ll give you a ten.                  You

14     were extremely helpful.

15                COACH BEAU:    Well, thank you.                  Daniel?

16                DTwo     Yeah, it was a ten for me as well.

17                COACH BEAU:    Right on.        R        ?

18                R                  10.1.

19                COACH BEAU:    Analytical.           J       ?

20                J                     (No response.)

21                COACH BEAU:    J      , I’ve got you muted, don’t

22     I?   Let me unmute you, brother.          There you go.

23                J                     Can you hear me?

24                COACH BEAU:    Yep.

25                J                     Okay, cool.            Yeah, it’s a




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 1     ten, Beau.

 2                  COACH BEAU:       Thanks.   B     ?

 3                  B          Ten.

 4                  COACH BEAU:       Right on, thank you.   Thank

 5     you, guys.       I appreciate you being on this call.

 6                  My last question to you, on a scale of one

 7     to ten, you want to work with me or you’ve got the

 8     ability to fund your ASCEND or PEAK mastermind -- now,

 9     here’s what I want to say.         We, as coaches, have been

10     working with finance companies.          I personally have

11     been working with this one finance company for about

12     six years.       They have probably financed 70 to 80

13     percent of my people at around zero percent interest

14     for 12 to 18 months and it’s revolving credit after

15     that, okay?       So if you get a $30,000 line of credit

16     from them and you pay -- you know, you use that money

17     to buy ASCEND and PEAK and you got money left over,

18     then you make money and you pay down on it.

19                  So let’s say you got out 15,000.         You pay

20     down 15,000.       You’ve still got that 15,000 to use as

21     your operating line of credit.           Any business you need

22     an operating line of credit, right, or an operating

23     line of capital.       Okay?     I can help you guys get that

24     with the right credit score or some of you might just

25     want to fund your ASCEND or PEAK or APEX right out of




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 1     the gate and with your own money.          But all of you

 2     should definitely buy ASCEND and PEAK without

 3     question.

 4                 My question to you is, who wants to work

 5     with me on a scale of one to ten or do you want to

 6     work with me on a scale of one to ten to put together

 7     the ASCEND or PEAK mastermind money or APEX, scale of

 8     one to ten and what do you want to do?          DOne ?

 9                 DOne          Ten.

10                 COACH BEAU:   Okay.    And what do you want to

11     do?

12                 DOne          What do I want to do?          I’m

13     going to work with you to see if I can get the funding

14     at this (inaudible).

15                 COACH BEAU:   Okay, all right, good.         Good.

16     And would you say you have a credit score over 680?

17                 DOne          Yes.

18                 COACH BEAU:   Okay, then we should be able to

19     get that for you.   Good job.      Okay.

20                 DOne          Mm-hmm.

21                 COACH BEAU:   LOne ?

22                 LOne            Ten.

23                 COACH BEAU:   Okay.    On ASCEND or ASCEND and

24     PEAK?

25                 LOne            Well, as high as I can go.




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                                                                           2511
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 1     As high as my credit will let me.

 2                  COACH BEAU:   All right.     And I think you’re

 3     -- you said your husband’s helping you out, right?

 4                  LOne              He is.   I want to -- I want

 5     to talk to him and see about the loan thing.             Can I --

 6     can I get a loan through you with him?

 7                  COACH BEAU:   Do you have over -- do you have

 8     over -- yeah, if he has over a 680.

 9                LOne                Yeah, he does.

10                COACH BEAU:     You want to do ASCEND and PEAK

11     if we can get him funded.       Okay, good.       LTwo   ?

12                LTwo                 I’d like to try and see if I

13     can do ASCEND and PEAK if my credit score is high

14     enough.

15                  COACH BEAU:   What do you think it is?

16                  LTwo               I paid some -- well, I just

17     paid off another credit card, so I know it’s gone up.

18     I just haven’t looked recently.         So I know --

19                  COACH BEAU:   Okay.

20                  LTwo          ;    -- I was sitting -- sitting

21     real close.

22                  COACH BEAU:   Okay, good.     DTwo     ?

23                  DTwo     I’m at a 10, definitely with

24     financing.

25                  COACH BEAU:   Okay.    And you’ve got a 740




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 1     credit score, right?

 2                DTwo     Correct.

 3                COACH BEAU:   Okay.   You’re 21.   That might

 4     be against you a little bit.     I think we can get close

 5     for you, okay?

 6                DTwo     Sounds good, man.

 7                COACH BEAU:   Good.   R   ?

 8                R              Ten.   Well, I have a call with

 9     you this afternoon, we’ll discuss in detail, but I’ve

10     got -- I’ve got credit lines out there, but they’re

11     distributed a bunch -- across a bunch of different

12     sources because of the 6,500 max per credit card.

13                COACH BEAU:   That’s okay.    We can -- yeah,

14     that’s okay.

15                R              Also --

16                COACH BEAU:   So let me say this, if you

17     have -- let’s say you’ve got one card that’s, you

18     know, 20 grand, our people will just run it in four

19     different -- or three different transactions.

20                R              Okay, yeah.

21                COACH BEAU:   Does that make sense?

22                R              Yeah, yeah.    There’s probably

23     -- actually, I’ll probably end up putting this on like

24     three or four different -- different cards because

25     I’ve got some balances on those from past business.




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 1     But the other aspect of this is I -- I may want to

 2     look at some financing in terms of supporting the

 3     advertising costs and the monthly -- in terms of

 4     leveraging that to build the business.

 5                 COACH BEAU:    Okay, good.    Sounds like we got

 6     some good stuff there.      Good job.    All right.    J   ?

 7                 J                  I’m a ten, and I’d like to

 8     get funded to do ASCEND and PEAK.        I am -- I know my

 9     credit score is about 680.

10                 COACH BEAU:    Okay, good.    Good.   So

11     hopefully, we can get you close, you know, at least

12     ASCEND.   We’ll go for PEAK, though, okay?

13                 J                  Yeah.

14                 COACH BEAU:    B     ?

15                 B        I am going to work with you and

16     (inaudible) pay it off -- pay it off within the year

17     probably.   But I’d like to do all of them, all the way

18     to the very top.

19                 COACH BEAU:    You want to do all the way to

20     APEX?

21                 B        Yeah.

22                 COACH BEAU:    Okay, good.    See, that’s about

23     right, one out of seven here is APEX.        Remember I said

24     one out of eight.   Guys, I’m telling you, these

25     numbers are perfect.      Here’s what’s going to happen,




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 1     okay?   Out of you seven, probably I would say six will

 2     do ASCEND and I would say five will do ASCEND and PEAK

 3     and one will do ASCEND, PEAK and APEX.        Just because

 4     of -- and here’s the thing, guys, all of your people

 5     that come through this call, it’s not that they don’t

 6     want to do it, after this call, you’re an idiot if you

 7     don’t want to do it, right?    Because it just doesn’t

 8     make sense, right?

 9                 UNIDENTIFIED FEMALE:     Right.

10                 COACH BEAU:   But it’s the -- it’s about

11     being able to get the funding.      That’s the only thing

12     that holds people back.     And that’s why the numbers

13     are the way they are.     If everybody could get funding,

14     it would be -- it would be around 90 percent on

15     everything, okay?

16                 UNIDENTIFIED FEMALE:     Right.

17                 COACH BEAU:   Because you’re always going to

18     have those one or two people that are just like, yeah,

19     whatever.   Okay?

20                 So here’s the next thing I want to tell you

21     and then we’ll end the call.       Michael Force provides

22     you extended traffic coaching at the ASCEND, PEAK and

23     APEX level, okay?    If you show that you’re taking

24     action within 24 hours of this phone call on either

25     putting in the application or initiating the fund




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 1     transaction from a brokerage account or whatever, all

 2     right, within 24 hours, you’ve got an email proof that

 3     you have put the application in or you have initiated

 4     fund transfer from a brokerage or investment account

 5     or if you’re paying, you know, like probably R              ,

 6     you’ll get that extended traffic coaching for ASCEND,

 7     PEAK and APEX.     If you don’t show that initiation, you

 8     don’t get that extended coaching.           Okay?

 9                Now, extended coaching for traffic is really

10     important for a lot of reasons, because that person,

11     that’s all they do is traffic coaching, and they’re

12     going to work with you for an extended period of time

13     instead of just one time.        So you’re talking three,

14     four, five, six, seven weeks, eight weeks all the way

15     out on APEX.     Okay?

16                You guys see the value in that?

17                GROUP:    Mm-hmm.     Yes.

18                COACH BEAU:    All right.        So what I’ll do is

19     I will contact you guys individually and I’ll just go

20     in line, DOne      LOne   LTwo       DTwo       , R   , J       and

21     B     , and I’ll get you guys the funding application

22     if that’s appropriate.

23                UNIDENTIFIED FEMALE:         Okay.

24                COACH BEAU:    Okay?

25                UNIDENTIFIED MALE:       Okay, sounds good.




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 1                 COACH BEAU:   And then, of course, after that

 2     -- now, here’s another thing, too.          You’re going to --

 3     guess what you’re going to want to do while you’re

 4     waiting on Sunday?

 5                 UNIDENTIFIED FEMALE:     (Inaudible).

 6                 COACH BEAU:   Yeah.    Oh, I’m seeing all these

 7     people making all this money, I’m getting these emails

 8     from Michael Force, I want to start.          Guys, it’s the

 9     hardest time in your business.      I know this.       I went

10     through it myself.    I’ve coached people on it for

11     years.   It’s not going to hurt you to wait another

12     week or week and a half for waiting on your funds.              If

13     you can get your funds in early and then you get the

14     financing to pay it off, do that if you just can’t

15     hold.    Okay?   Don’t start --

16                 UNIDENTIFIED FEMALE:     So if we go through

17     you guys --

18                 COACH BEAU:   -- marketing --

19                 UNIDENTIFIED FEMALE:      -- (inaudible) --

20                 COACH BEAU:   Go ahead.     Go ahead, LOne

21                 UNIDENTIFIED FEMALE:      Oh.     No.   If we go

22     through you guys, it takes about a week or a week and

23     a half to go through?

24                 COACH BEAU:   Yes.

25                 UNIDENTIFIED FEMALE:      Okay.




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 1                  UNIDENTIFIED FEMALE:     Will our next steps be

 2     opened up?

 3                  COACH BEAU:   Yes.    You’ll be opened up to

 4     18.   You can go through the RISE and your BASE

 5     program, and I want you guys to recalibrate your

 6     goals, your 30, 60, 90 and one year, and I also want

 7     you to make sure your vision board is complete while

 8     you’re waiting.

 9                  UNIDENTIFIED FEMALE:     Okay.

10                  COACH BEAU:   Okay?    But I’ll call you guys

11     individually.     I appreciate your time today.       I hope

12     it was valuable to you.     I know it is for me every

13     time I do it.     And I enjoyed all of your personalities

14     and I know everything that you said helped so many

15     other people as well.

16                  GROUP:   Thank you.    Thank you.     Thank you.

17                  COACH BEAU:   You’re welcome.       Okay, all

18     right, bye.

19                  UNIDENTIFIED FEMALE:     Have a good day.

20                  UNIDENTIFIED MALE:     Take it easy, bub.

21                  UNIDENTIFIED MALE:     Have a good one.

22                  (The recording was concluded.)

23

24

25




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 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Elizabeth M. Farrell, do hereby certify

 5     that the foregoing proceedings and/or conversations

 6     were transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

19

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21     DATE:   11/8/2017

22                               ELIZABETH M. FARRELL, CERT

23

24

25




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 1                   OFFICIAL TRANSCRIPT PROCEEDING
 2
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 2                             I N D E X

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 4     RECORDING:                                        PAGE:

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 1                     FEDERAL TRADE COMMISSION

 2

 3     In the Matter of:               )

 4     Digital Altitude                )   Matter No. 1723060

 5                                     )

 6     ------------------------------)

 7                                     October 26, 2017

 8

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11                The following transcript was produced from a

12     digital file provided to For The Record, Inc. on

13     November 3, 2017.

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 1                             P R O C E E D I N G S

 2                             -      -      -       -    -

 3                    2017-10-26_17-02-03 (Sixth Call)

 4                MR. TYNDALL:            Hello?

 5                COACH PIERRE:            All right, who do we got?

 6                MR. TYNDALL:            This is J       .

 7                COACH PIERRE:            Hey, J         how are you?

 8                MR. TYNDALL:            Good.     How are you doing?

 9                COACH PIERRE:            Doing great.        I’m trying to

10     get everybody else on.             Let’s see here, we have --

11                MR. TYNDALL:            I learned how to be a rhino.

12                COACH PIERRE:            What did you think of that

13     video?   Pretty funny, isn’t it?

14                MR. TYNDALL:            It is funny.        And it’s true,

15     too.

16                COACH PIERRE:            And there’s A           .    Good

17     God, I haven’t seen the man in forever.

18                A        :       I know, man.       You’ve -- you’ve been

19     gallivanting all over the country.

20                COACH PIERRE:            I have been all over the

21     place, yeah, but I’m glad -- yeah, it’s been kind of

22     crazy, too, because I -- I busted a molar.                      Since

23     you’re on video, you can probably see this -- I don’t

24     know if you can see that.

25                A        :       Yeah, I heard -- I heard on the




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 1     call.     The call the other morning.       I guess that was

 2     yesterday’s morning call.

 3                  COACH PIERRE:       Perf- -- perfect for

 4     Halloween.       I wish it was in front because I’d look

 5     like a pirate.       But, yeah, yeah, not fun, man.        It

 6     hurt.

 7                  A       :   Yeah.

 8                  COACH PIERRE:       Hey, so you took -- you took

 9     some time to watch John’s video?

10                  A       :   Oh, me?

11                  COACH PIERRE:       Yeah.

12                  A       :   Beau’s video, you mean, right?

13                  COACH PIERRE:       Well, no, Beau had a -- an

14     audio.    John did the little video.

15                  A       :   Oh, John, yeah, I did, I watched

16     them both, yeah, yeah.

17                  COACH PIERRE:       Good, good.   So -- and

18     J          already updated me.       He’s -- he’s ready to be

19     a rhino.     What about you?       You a rhino or a cow?

20                  A       :   I’m a rhino, man.     (Inaudible).

21                  COACH PIERRE:       Good to be among rhinos.

22                  A       :   I’m a herd.     I want to be a herd.

23     I want to create a herd of rhinos.

24                  COACH PIERRE:       Wasn’t it a funny story,

25     though?




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 1                A      :   It was, it was.

 2                COACH PIERRE:       But it’s so true, right?

 3     People unfortunately are just kind of like in that

 4     herd mentality.   Let’s just chew your cud, shut up.

 5                A      :   I know, right?     And -- and -- and

 6     if -- you know what’s so funny about it is, like, I’m

 7     like, that is who I have -- you know, those are the

 8     people that are surrounding -- that I was surrounded.

 9     I’m like, wow, really?     Because I always felt like

10     sometimes I was the awkward one for -- for being,

11     like, the dreamer or the -- and it’s like sometimes

12     you say yourself -- say to yourself, it’s like, hey,

13     I’m just like, you know, this dreamer and am I wrong

14     for feeling this way, or because, you know, sometimes

15     so many people don’t think, you know, like you do.

16                COACH PIERRE:      Yeah, I know.

17                A      :   So, I mean --

18                COACH PIERRE:      It’s tragic.

19                A          It is.

20                COACH PIERRE:      It’s (inaudible) tragic.

21                A      :   Yeah.

22                COACH PIERRE:      Well, look, guys, I know --

23     well, we’re waiting for a couple of people to join,

24     but I don’t want to waste any time.       I want to dive

25     into this, and I’ve only got a little bit of time.




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 1     and you said two, I would have given you a hard time.

 2                 A     :    Yeah.

 3                 COACH PIERRE:      No, honestly, guys --

 4                 A     :    (Inaudible) times.     I did kind of

 5     like fast forward through some things like the

 6     beginning part when he was talking to everybody.          I --

 7     but I went through -- I got the meat of it three --

 8                 COACH PIERRE:      Because we -- we covered a

 9     fair amount there.     Everything pretty clear, though,

10     on what you covered?

11                 A     :    Yeah.

12                 COACH PIERRE:      Yeah.   So because the

13     principles are, you know, pretty consistent.        I mean,

14     everybody’s always working on those same principles,

15     but I’ll -- let’s cut to this chase because, honestly,

16     at the end of the day, guys, when you run your

17     marketing --

18                 A     :    Mm-hmm.

19                 COACH PIERRE:      -- well, let me tell you

20     this.    This whole business boils down to two things.

21     Okay?    Two things.   And we were -- I was going to talk

22     about marketing, but you know what number two is?

23                 A     :    The second thing?

24                 COACH PIERRE:      The second-most important

25     thing.    What do you need to really succeed in this




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 1     business?          Number two.

 2                    A        :   The second thing --

 3                    COACH PIERRE:         Traffic, traffic,

 4     marketing --

 5                    A        :   I thought -- I thought that was the

 6     first thing.         Well, the first thing is the desire to

 7     help people, I guess.             I don’t know --

 8                    COACH PIERRE:        Well, that’s the purpose of

 9     your business, but you know what the number one thing

10     is?     Well, let’s go back to number two, right?

11     Marketing, traffic.

12                    A        :   Right.

13                    COACH PIERRE:        Can you succeed with any

14     business without traffic?

15                    A        :   No.

16                    COACH PIERRE:        You can’t.

17                    A        :   No.

18                    COACH PIERRE:        You need leads.    Right,

19     J       ?

20                    MR. TYNDALL:        Yeah, you need the -- the

21     clicks.

22                    COACH PIERRE:        You need visitors.    Now,

23     you’re going to learn how to do that, and it’s not

24     hard.       It really isn’t hard, guys.          You’re placing ads

25     in different places, you’ll have a traffic coach




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 1                A      :    Wow.

 2                COACH PIERRE:        Yep.   I’m telling you, man,

 3     it doesn’t take much.      It -- because that -- the

 4     sponsor lock, it’s -- again, it’s for life.         And, so

 5     that ripple effect goes on in perpetuity, forever.         So

 6     even if you get APEX later, all of those people and

 7     their down line and their down line’s down line and

 8     it’s just -- it’s gone.

 9                A           Yeah.

10                COACH PIERRE:       And that’s why it’s so

11     important to understand how positioning is going to

12     determine everything in your business.

13                A      :    Right.

14                COACH PIERRE:       People love to follow

15     leaders.   You’ve got to be in a position of

16     leadership.    And -- and, so, where’s the best position

17     to be at in this business?

18                A      :    APEX.

19                COACH PIERRE:       APEX, absolutely.

20                J      --

21                MR. TYNDALL:        Yes.

22                COACH PIERRE:        -- you’re really quiet.

23                MR. TYNDALL:        Yeah.

24                COACH PIERRE:        Are you following along?

25                MR. TYNDALL:        I am.




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 1                COACH PIERRE:       Good.    What’s the best

 2     position to be in?

 3                MR. TYNDALL:       APEX.

 4                COACH PIERRE:       APEX.    It really is APEX.

 5     Now, people look at that and they go, well, I -- I

 6     don’t know, I’m afraid, I don’t -- I don’t -- I

 7     couldn’t swing it, right?       Guys, understand that

 8     you’re setting up a business, right?         And there’s

 9     different ways to do that.

10                So, A        , do you want to make profits from

11     the ASCEND and PEAK and APEX sales that are going to

12     be made to your leads?

13                A       :   Absolutely.

14                COACH PIERRE:       And, J      , what about you?

15                MR. TYNDALL:       Yes.

16                COACH PIERRE:       Okay.    Because there’s

17     different ways to do this, and I’m going to break

18     everything down for you real quick.         Hopefully you’ve

19     got pen and paper handy.

20                A       :   Yep.

21                MR. TYNDALL:       Yes.

22                COACH PIERRE:       Now, if you’ve been paying

23     attention as we’ve been going through all of this

24     stuff, you should have this in your notes as well, but

25     I’m going to ask you a series of questions, okay?            And




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 1                A     :   Right, yeah.

 2                COACH PIERRE:   Ten grand.     PEAK is?

 3                A     :   PEAK is 617 -- 1617.

 4                COACH PIERRE:   It’s 19 now.    And we’re --

 5                A     :   Nineteen.

 6                COACH PIERRE:   -- going to call it -- we’re

 7     going to call it 20.   How much is APEX?

 8                A     :   Twenty-seven.

 9                COACH PIERRE:   Well, let’s call it 30.

10                A     :   Thirty, okay.

11                COACH PIERRE:   Let me keep it simple, right?

12     Because I want you guys to get this.      When you add

13     them all up, what do you got?

14                A     :   Let’s see, 10, 20, 30, 50 grand.

15                COACH PIERRE:   Sixty.

16                A     :   Sixty grand.

17                COACH PIERRE:   Sixty grand, right?       Now,

18     people look at that and they go, oh, my goodness, oh

19     (inaudible) that’s terrifying.      I had one guy -- it’s

20     kind of funny -- not too long ago, it was this summer,

21     earlier this summer.   He went out -- he was, like,

22     telling me, oh, yeah, I’m -- I’m just -- I’m going to

23     make it happen, going to make it happen, and then he

24     went out and bought a boat.

25                He said he couldn’t -- he couldn’t -- he




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 1     couldn’t find (inaudible) well, that’s too much money,

 2     60,000.    He spent almost that much on a boat.      And the

 3     minute he drove it off the lot, it depreciated

 4     (inaudible) crazy.    When you have a boat or a car,

 5     when you buy a nice high-end car, I don’t know, pick a

 6     car, you know, a Mercedes E-class, how much is that?

 7                 A     :   E-class is 80 grand.

 8                 COACH PIERRE:     So if you had an $80,000

 9     loan, how much is your payment on that?

10                 A     :   Ooh, I can’t imagine.    I never had

11     an $80,000 car.   That’s got to be -- depending on how

12     much money you put down, got to be two grand a month?

13                 COACH PIERRE:     No, no, no, it’s less than

14     that.

15                 A     :   (Inaudible) twelve?

16                 COACH PIERRE:     If you had a line of

17     credit -- no, let’s talk -- let’s talk about this,

18     right?    So you got 60 grand.     If you had a business

19     line of credit, and there’s sources of funding here,

20     by the way, guys, that are at zero percent interest.

21     It’s a business line of credit.       Business, right?     Not

22     under a Social Security number.       You set it up under

23     an EIN number.

24                 A     :   Okay.

25                 COACH PIERRE:     We’ll show you how to do all




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 1     that.     So you’ve got a $60,000 line of credit.       That

 2     gives you the ability to get those licenses.          Is that

 3     enough?     Well, you’ve got an operating budget.

 4                  A     :   Right.

 5                  COACH PIERRE:     Well, you’re going to have

 6     your -- your monthly Climber fee, right?

 7                  A     :   Okay.

 8                  COACH PIERRE:     We’ll call it 100 bucks a

 9     month.     So 100 bucks a month, that’s -- that’s really

10     97.     We’ll call it 100.     And then you’ve got a $17

11     affiliate fee.     We’re going to -- let’s round this up

12     to 120 bucks, okay?     So that’s your monthly fees.       You

13     got a monthly budget.        Then your marketing budget.

14     Again, it doesn’t matter where you’re at.        It doesn’t

15     matter if you’re ASCEND, PEAK, APEX, or even RISE,

16     you’re -- you’re going to be buying traffic, right?

17                  A     :   (Inaudible).

18                  COACH PIERRE:     Or -- or you’re going to

19     invest your time, you know, by doing social media and

20     other stuff like that if you want.        But that’s -- that

21     certainly works, and it drives traffic.        But you’re

22     going to have an -- a marketing budget.        Now,

23     personally, I -- in the beginning especially, you’re

24     going to put far more into your marketing if you want

25     to grow and scale this thing quickly than you would




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 1     once it’s airborne, right, and you’re at cruising

 2     altitude.

 3                  A      :   Right.

 4                  COACH PIERRE:      Personally, I recommend 20

 5     percent of your gross target.           So if you’re aiming for

 6     ten grand, what’s your marketing budget?

 7                  A      :   Two grand.

 8                  COACH PIERRE:      Two grand.    So you really

 9     want to bring in 12, right?         Okay.    Or you’re looking

10     at 22.    Does that make sense, guys?

11                  MR. TYNDALL:      I think so.

12                  A      :   Yes.

13                  COACH PIERRE:      Okay.    So let’s say that

14     you’re -- I’m just going to say 2,500, 2,500 a month.

15     So your first two, three months, you’re going to put

16     everything back in, all -- this is the cycle that you

17     can expect.      And -- and just to prove it to you,

18     A        , how long did it take you before you purchased

19     BASE and RISE?     When you first started?

20                  A      :   Actually, I did it pretty quick.

21     So, yeah, I did it like pretty much immediately, you

22     know, like right after --

23                  COACH PIERRE:       Two days.

24                  A      :   -- I went through ASPIRE and it was

25     like, okay, yeah.




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 1                COACH PIERRE:       So a week?   Well, typically

 2     it’s about a week.

 3                J     , how long did it take you?

 4                MR. TYNDALL:       It took me a little longer.

 5                COACH PIERRE:       Okay.

 6                MR. TYNDALL:       Because --

 7                COACH PIERRE:      Usually what you’re going to

 8     find is that it takes about a week, right?        Less than

 9     that in most cases, but about a week.        So you place an

10     ad; your ads generate clicks; the clicks opt in; they

11     go through the funnel.     And then within about a week

12     of that time, that’s usually when your first few

13     silver sales, you know, come through, right?          Your

14     first few buyers are going to be buying right there.

15                A      :   Right.

16                COACH PIERRE:      So you’ve got BASE and RISE

17     sales coming in and you get paid on those.        I

18     recommend just taking those profits and just putting

19     it back into traffic, right?

20                A      :   Okay.

21                COACH PIERRE:      That’s -- that’s usually how

22     this works.    So, now, you’re doing this, and after

23     they’ve purchased BASE and RISE, you’re looking at

24     about a two- to three-week period before they start

25     buying ASCEND, PEAK, and APEX.




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 1                  A     :   Right.

 2                  COACH PIERRE:    Usually it takes them a

 3     little longer.     They’re going through the rest of the

 4     steps, and they’ve got to get their funding together.

 5     So you’re going to see all of your ASCEND, PEAK, and

 6     APEX profits come in around week four, week five, week

 7     six.     Does that make sense?

 8                  MR. TYNDALL:    Yes.

 9                  COACH PIERRE:    From the time your campaign

10     was run.     That’s usually the cycle.      So your first 90

11     days are critically important.         So now you’ve got this

12     cycle.     Now, let’s say that you’re spending $2,500 a

13     month on marketing, so the first three months, how

14     much are you going to need?

15                  A     :   7,500 bucks.

16                  COACH PIERRE:    7,500.    And then you want a

17     little cushion, so let’s round that up to 10, okay?

18     So let’s say that you started out with a line of

19     credit for 70,000 bucks.        Now, again, this is OPM,

20     right?     What does OPM stand for?

21                  A     :   Other people’s money.

22                  COACH PIERRE:    You know it, right?    This is

23     all just -- it works.       This works 100 percent of the

24     time for those who work this.

25                  A     :   Mm-hmm.




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 1                 COACH PIERRE:     So you take out a line of

 2     credit for 70 grand.     You got a line of credit at zero

 3     percent financing.     If you’ve got good credit, it’s

 4     very easy to get, and we’ve got sources of funding in

 5     place that will help you get that credit.

 6                 A     :   Okay.

 7                 COACH PIERRE:     So zero percent under a

 8     business entity’s name.       Is it under your name?

 9                 MR. TYNDALL:      No.

10                 A     :   No.

11                 COACH PIERRE:     It’s under a business’ name.

12     Everything that goes in there is a tax writeoff,

13     right?    Now you could be reasonable.      Don’t go buying

14     a boat.    Don’t -- you know.       You following me?

15                 A     :   Right, I am.

16                 COACH PIERRE:     It’s a business, right?     So

17     you’re writing everything off -- licenses, marketing

18     expenses, travel expenses to our events, things like

19     that you’re going to write off.        Everything goes into

20     this line of credit.

21                 So what do you think your monthly debt

22     service is on a $70,000 line of credit?        Now, it’s not

23     a loan; it’s a line of credit.        And I’m assuming that

24     you use all of it, 70 grand, right?        What do you think

25     your monthly debt service on that is at zero percent




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                                                                                    21


 1     interest?

 2                 A     :   800 bucks a month?

 3                 COACH PIERRE:     If -- if that.

 4                 A     :   If that, yeah.

 5                 COACH PIERRE:     So let’s call it --

 6                 A     :   (Inaudible).

 7                 COACH PIERRE:     -- 800 bucks a month.

 8                 A     :   Depending on the term, so, yeah.

 9                 COACH PIERRE:     Yeah, zero percent for 15

10     months.

11                 A     :   For 15 months.

12                 COACH PIERRE:     Yep.    So 800 bucks.   So I

13     want you to think about this.         So you just -- you’ve

14     got $800 a month to pay.      Now you’ve made on -- well,

15     how many RISE sales do you think you’re going to --

16     you’re going to make your first month?          Let’s be

17     conservative.

18                 A     :   Four?

19                 COACH PIERRE:     Okay.

20                 A     :   That was conservative.

21                 COACH PIERRE:     J       ?

22                 A     :   That was --

23                 COACH PIERRE:     J       ?   Are you with me?

24                 MR. TYNDALL:    Maybe two.

25                 COACH PIERRE:     Two, okay.     Whoo, you really




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 1     think the phone sales team sucks.        They don’t know

 2     what they’re doing.    How much do you make on a RISE

 3     sale?

 4                A     :    A grand, 1,000 bucks.

 5                COACH PIERRE:      Okay.   So do you have enough

 6     to cover your debt service?

 7                A     :    Yep.

 8                MR. TYNDALL:      Yep.

 9                COACH PIERRE:      And then some.

10                A     :    Mm-hmm.

11                COACH PIERRE:      Now, this is what’s

12     interesting.   Remember, it’s a funnel, right?       So your

13     first four, let’s say, right, of those four, how many

14     do you think are going to be purchasing ASCEND?

15                A     :    Oh, wow, I think I looked at that.

16     Probably like three.

17                COACH PIERRE:      Let’s be really conservative.

18                A     :    Really conservative.     Okay, say

19     two.

20                COACH PIERRE:      Let’s say one.

21                A     :    One.

22                COACH PIERRE:      That one of those four buys

23     ASCEND.   And this is what’s interesting.       Now, we’ve

24     got a small sample to work with because you only had

25     four sales your first month.        So you had one that




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 1     purchased ASCEND out of the four.        That’s about a 25

 2     percent conversion ratio (inaudible) over 30.           What’s

 3     interesting is that from ASCEND to PEAK, it’s over 50

 4     percent.    See, more than half of your ASCEND sales,

 5     they’ll also get PEAK, because at this point they

 6     understand it, and they’re -- it’s just purely a

 7     question of financing.

 8                  A     :   Okay.

 9                  COACH PIERRE:     (Inaudible) PEAK.    What --

10     and from PEAK to APEX, it’s, again, over half.           More

11     than half of your PEAK members are going to get APEX,

12     but it’s purely based on financing.        Does that make

13     sense, guys?

14                  A     :   Yes.

15                  MR. TYNDALL:      It makes sense.

16                  COACH PIERRE:      Do you follow this?

17                  A     :   Right, I got you.

18                  COACH PIERRE:      So if your first month you

19     only had four RISE sales, one of them gets ASCEND.

20                  A     :   ASCEND.

21                  COACH PIERRE:      And doesn’t get PEAK.    How

22     much have you made in month number two?

23                  A     :   5,500.

24                  COACH PIERRE:      Now, you repeated the same

25     thing.     You didn’t even get any better.       You suck.




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 1     You’re at four.     You did four again in month number

 2     two, and you -- you just made an ASCEND sale.        So how

 3     much have you made?

 4                A      :   5,500?

 5                COACH PIERRE:       How much do you have for debt

 6     service?

 7                A      :   Oh -- 800, so --

 8                COACH PIERRE:       Are you okay?

 9                A      :   -- the second month --

10                COACH PIERRE:      Are you okay --

11                A      :   Yeah.

12                MR. TYNDALL:    More than okay.

13                COACH PIERRE:      And you’re putting more back

14     -- and you’re putting it back into traffic, right,

15     because you want to increase -- you want to scale this

16     puppy, right?

17                A      :   Right.

18                COACH PIERRE:      And, so, now you get more

19     into traffic, so what do you think you should do in

20     your third month?     How many more -- how many more RISE

21     sales do you think you’re going to have in your third

22     month?

23                A      :   I want to say you double it,

24     probably at least, like, eight.

25                COACH PIERRE:       Now, look, you -- when you’re




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 1     positioned, for some reason, people love to follow

 2     leaders.     You’re an APEX member, people will be like,

 3     boom, and they get your emails and it’s like, aah,

 4     right?

 5                  A       :   Mm-hmm.

 6                  COACH PIERRE:       APEX, they love that.

 7                  A       :   Mm-hmm.

 8                  COACH PIERRE:       I’m telling you, you should

 9     do better.       Let’s say that you did the same, you suck.

10                  A       :   Damn.

11                  COACH PIERRE:       Four.   Four more, right?

12     Four more.

13                  A       :   Yeah.

14                  COACH PIERRE:       I’m just being super, super

15     conservative.       Now, the second month, you had four and

16     another one got ASCEND, right?

17                  A       :   Okay.

18                  COACH PIERRE:       And so you had two.   Well,

19     again, the numbers are the numbers are the numbers.

20     Fifty percent -- more than 50 percent of your ASCEND

21     sales will get PEAK.

22                  A       :   Mm-hmm.

23                  COACH PIERRE:       So that’s one.   Probably

24     decides to get both ASCEND and PEAK.          Doesn’t get

25     APEX, but decides to get ASCEND and PEAK.          And now




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                                                                           2544
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 1     you’re going to see that in your third month.         How

 2     much have you made in your third month?

 3                 A      :   Okay.

 4                 COACH PIERRE:      Yeah, you’re four again --

 5                 A      :   4,500 for ASCEND.

 6                 COACH PIERRE:      You’ve got another one that

 7     got ASCEND.     Now you’ve got --

 8                 A      :   Seven --

 9                 COACH PIERRE:      -- (inaudible) PEAK.   You

10     starting to get the picture, though, of how this

11     works?

12                 A      :   Definitely.

13                 MR. TYNDALL:    Yes.

14                 COACH PIERRE:      See, this is just how it

15     works, guys.     And -- and you -- if you haven’t heard

16     all the success stories of people that are just --

17     they just follow this --

18                 A      :   Yeah.

19                 COACH PIERRE:      -- they just do this, and

20     within a very short -- like Sarah Gallo, talk about a

21     gal that is just full of fire.       Do you know who Sarah

22     Gallo is?

23                 A      :   I think she was on the morning

24     call.    She’s the one with the kittens?      Is that her?

25                 COACH PIERRE:      No, no.   Sarah is right now




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 1     in Nepal somewhere.     She’s a travel junkie.

 2                  A     :   Oh, okay.

 3                  COACH PIERRE:     She’s a -- the Five-Foot

 4     Traveler.    If you Google her, she’s got a travel blog.

 5     She didn’t even know what affiliate marketing was when

 6     she started.

 7                  A     :   Mm-hmm.

 8                  COACH PIERRE:     She started in February of

 9     this year.

10                  A     :   Okay.

11                  COACH PIERRE:     February.   She’s made over

12     100 grand so far.

13                  A     :   Wow.

14                  COACH PIERRE:     She does zero paid

15     advertising.     She doesn’t know how.     It’s all been on

16     Facebook and Instagram.

17                  A     :   Wow.

18                  COACH PIERRE:     She got positioned at APEX.

19                  A     :   Mm-hmm.

20                  COACH PIERRE:     She just followed

21     instructions.     She took -- she got a loan from her

22     parents, and she thought, oh, no, this is risky, it’s

23     going to take me years to pay it back.        Yeah, right.

24     (Inaudible) like May.     Little ball of fire.

25                  And I remember meeting her, and she was so




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 1     excited, and she was just thrilled.          This was in March

 2     of this year.      March or April?      I’m trying to

 3     remember.     She had just made, you know, eight grand

 4     that month.      And she couldn’t believe it.      More than

 5     she’d ever made.        And I said, look, you’re doing

 6     great, just -- you’re -- just keep going, keep going,

 7     you’re going to be making more than 50 grand a month

 8     by the end of this year.        By the holidays, you’re

 9     going to be cooking with gas.          You just believe me.

10     And she’s like, I can’t imagine, I can’t -- well,

11     she’s doing more than that now.          Now it’s October.

12                  Guys, just by -- there’s too many success

13     stories to show how this works.          The numbers are the

14     numbers are the numbers are the numbers, right?

15                  A      :    Yeah, yeah.

16                  COACH PIERRE:     It doesn’t matter who you

17     are.   It doesn’t matter what your background is.            You

18     just follow instructions, placing ads.          And she

19     doesn’t even do ads.        It’s all social media.      I

20     personally -- I don’t have the time for social media

21     really.     I’m -- and besides, I’m lazy.

22                  Bless you.

23                  A      :    Thank you.

24                  COACH PIERRE:     Does that make sense, guys?

25     You guys following how this works?




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 1                  A     :   Definitely.

 2                  MR. TYNDALL:      Yes.

 3                  COACH PIERRE:      Now, how many clicks a day do

 4     you need?

 5                  A     :   Well, according to Beau, you need

 6     like -- to make X -- to make 30 -- 30 grand a month,

 7     it’s like 57.

 8                  COACH PIERRE:     Fifty, yeah -- oh, so he said

 9     57, okay.

10                  A     :   Right.

11                  COACH PIERRE:     Yeah, 50 -- 50 -- oh, so he

12     said 57.    You see, you want to have a specific target.

13     And this is what you’re going to work on next, right?

14                  A     :   Yeah.

15                  COACH PIERRE:     You’re going to work on SMART

16     goals in Step 16.      I’m going to map this out with you.

17     SMART goals.     You’re working backwards now.     And you

18     remember what SMART stands for?

19                  A     :   Yes.

20                  COACH PIERRE:     You do?

21                  A     :   Yep.

22                  COACH PIERRE:     Specific, measurable -- what

23     was the A?

24                  COACH PIERRE:      Achievable?

25                  A     :   Attainable or achievable, yeah.




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 1                 COACH PIERRE:     Yep.

 2                 A     :   R is for --

 3                 COACH PIERRE:     Relevant.

 4                 A     :   Relevant and T is --

 5                 MR. TYNDALL:      Time-bound.

 6                 COACH PIERRE:      Time.       Time-bound.   You got

 7     it.

 8                 A     :   Yeah.

 9                 COACH PIERRE:     So relevance, it’s got to be

10     (inaudible) to your long-term vision and your mission,

11     right?    So what’s your vision?           What’s your mission?

12     What are you after?    You -- are you committed to that

13     vision?

14                 A     :   Absolutely.

15                 COACH PIERRE:      J       ?

16                 MR. TYNDALL:      Yes.

17                 COACH PIERRE:      Good.       Do you see how this is

18     done now?

19                 A     :   Yeah.

20                 MR. TYNDALL:      Yes.

21                 COACH PIERRE:      How many clicks do you need a

22     day?

23                 A     :   For 30K a month, 57.

24                 COACH PIERRE:      That’s 30K a month, 57 -- so

25     you’re going to -- you’re going to do more than that.




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                                                                            2549
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 1     You’re going to probably want to do a couple hundred

 2     and you’ll do much more than that over time, right?

 3                A       :   Oh, yeah.

 4                COACH PIERRE:       Can you do 50 clicks a day,

 5     57 clicks a day?

 6                A       :   Yeah, for sure.

 7                COACH PIERRE:       Is that specific?

 8                A       :   Yeah, that’s specific.

 9                COACH PIERRE:       Is it measurable?

10                A       :   Yes.

11                COACH PIERRE:       Is it achievable?

12                A       :   Absolutely.

13                COACH PIERRE:       Is that relevant towards your

14     goal?

15                A       :   Yep.

16                MR. TYNDALL:       Yes.

17                COACH PIERRE:       And you have a time line,

18     it’s daily.

19                A       :   Daily, yep.

20                COACH PIERRE:       So this is how we operate,

21     and you just do this.     Now, you’re going to spend a

22     little extra time looking at, you know, training

23     obviously since you’re getting started and learning

24     and working with -- you know, with me or your traffic

25     coach.   And you’re going to just start learning these




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 1     different things, but this is not hard.       And what do

 2     you need to be successful?     Traffic and positioning,

 3     that’s it.

 4                  A     :   Traffic (inaudible).

 5                  COACH PIERRE:   That’s -- that’s all this

 6     is, guys.    So if you’re wanting to do this and if

 7     you’re -- if you understand it and you’re ready to go

 8     APEX, again, there’s different ways to get the

 9     funding.    And, obviously, some of these sources that

10     are looking at -- at zero percent, they want to look

11     at your personal credit first to make sure that you’re

12     going to be a good risk.     They’ve done their due

13     diligence.

14                  It’s just like starting a franchise.     Like

15     if you went and bought a Gold’s Gym or, I don’t know,

16     a Jiffy Lube or, you know, something like that, the

17     financing companies that those companies, like, I

18     don’t know, Subway, they, you know, I don’t know, pick

19     a franchise, they -- they -- most people that come to

20     them don’t have the money sitting in their back

21     pocket, right?

22                  A     :   Right, right.

23                  COACH PIERRE:   So these are the same

24     companies that offer financing for some of the biggest

25     franchises out there.     They -- they’ve done their due




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 1     diligence, they know Digital Altitude, they understand

 2     the business model.     When you submit your application,

 3     they’ve -- they guide you through the process of

 4     getting your EIN number and doing all of that.      You’re

 5     going to upload a personal credit report.

 6                They’re going to show you how to do that.

 7     If your credit is like 700 or above, or even 680 or

 8     above, you’re golden.      Three to five-day preapproval

 9     process, and then they issue the line of credit.

10                Usually it comes in the form of credit

11     cards.   Right?

12                A      :   Right.

13                COACH PIERRE:      And you’re off to the races.

14                A      :   Okay.

15                COACH PIERRE:      So,       , I don’t know, you

16     know, do you know what your credit history is like?

17                A      :   I don’t know if it’s -- I don’t

18     know the score actually, but, you know, I did have

19     some challenges a couple of years back because, you

20     know, when the market crashed and all that stuff, so,

21     but...

22                COACH PIERRE:      No bankruptcies or

23     foreclosures or --

24                A      :   Yes, I did.    I did have one because

25     I -- I was a real estate investor, so I bought a




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 1     couple of houses, so I had a foreclosure, yeah.

 2                 COACH PIERRE:     Gotcha, okay.     So that might

 3     be -- but no bankruptcy, right?

 4                 A     :   No.

 5                 COACH PIERRE:     Okay.    So you should be good.

 6     I mean, if you -- if you want to check your score, I

 7     mean, you can go to Credit Karma.

 8                 A     :   Yeah.

 9                 COACH PIERRE:     J       , do you know what your

10     score is?

11                 MR. TYNDALL:    No, not exactly.

12                 COACH PIERRE:     Okay.    Because there’s all

13     sorts of ways to do this.         You’re going to find most

14     of your members, if they don’t leverage some of the

15     funding sources that Michael set up, they’ll tap into,

16     I don’t know 401(k) plans, home equity, take out a --

17     you know, IRAs, annuities, personal retirement

18     accounts.   They do -- people will do different things

19     to fund their business.

20                 A     :   Mm-hmm.

21                 COACH PIERRE:     Or just a consumer loan or

22     something like that.

23                 A     :   Right, right.

24                 COACH PIERRE:     So, I mean, what -- can you

25     guys think of any funding sources?




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 1                A     :     Yes.    I’ve got -- I’ve already kind

 2     of put that in place already, so I’m, like --

 3                COACH PIERRE:       Oh, fantastic.

 4                A     :     -- just, you know, as a backup plan

 5     in case that wasn’t, you know -- if I wasn’t able to

 6     get it between -- because of what happened in the

 7     past, I’ve kind of put some stuff in place, so...

 8                COACH PIERRE:       Yeah.    So what we’re going to

 9     do right now, since we’re done -- we’re done with the

10     setup calls, and we’ve pretty much gone through the

11     business plan, right?

12                A     :     Mm-hmm.

13                COACH PIERRE:       This (inaudible) session was

14     just to figure out how do you want to structure

15     things, how do you want to position yourself when you

16     launch.   And, so, A          , I would -- it sounds like

17     APEX all the way.

18                A     :     Oh, yeah.

19                COACH PIERRE:       J       , are you there?

20                MR. TYNDALL:       I’m here.

21                COACH PIERRE:       Where are you wanting to

22     position yourself?

23                MR. TYNDALL:       I think -- well, I need to

24     talk to my wife --

25                COACH PIERRE:       Okay.




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 1                  MR. TYNDALL:        -- but I -- I’d -- I think

 2     APEX, especially after the video or the podcast.

 3                  COACH PIERRE:       (Inaudible).   I’m telling

 4     you, it -- when you -- the effort is the same.           The

 5     effort is the same.       It’s all in -- you guys, I’ll

 6     tell you something.       I am -- I am nothing special,

 7     right?     You don’t -- do you want to know why I’m

 8     consistently -- well, okay, minimum 60 grand a month,

 9     you know why that is?

10                  MR. TYNDALL:      Why?

11                  A       :   Because you’re --

12                  COACH PIERRE:       Positioning.   100 percent.

13                  MR. TYNDALL:      Yeah.

14                  COACH PIERRE:       I’m an -- I’m an APEX

15     Climber.     I’ve been since February of last year.

16                  A       :   Mm-hmm.

17                  COACH PIERRE:       I should be doing a whole lot

18     more, but I’m lazy.       This is not hard.      And I’m no

19     rock star.       I’m not -- you know, there’s all these

20     people that are out there on social media, and you

21     don’t even have to do that.           Just pick up the phone,

22     buy traffic.      Place ads.      Give me more clicks.   Bring

23     it on.     Bring it.

24                  A       :   Okay.

25                  COACH PIERRE:       Now, I’m paying more than




                                          Attachment LL                   EX 41
                                                                           2555
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 1     most people would for my -- for traffic, right?          But I

 2     don’t care if I’m an APEX.       I’m making it up on the

 3     back end.

 4                 A     :   Right, right.

 5                 COACH PIERRE:     So when -- when we map out

 6     your marketing plan, as we work together, it’s all

 7     going to depend on how you position yourself.

 8                 A     :   Okay.

 9                 COACH PIERRE:     But starting out at RISE,

10     you’re -- you’re going to do as close to free as you

11     possibly can.

12                 A     :   Mm-hmm.

13                 COACH PIERRE:     Because otherwise it -- you

14     can’t be profitable.

15                 A     :   Right.

16                 COACH PIERRE:      Simple, right?

17                 A     :   Mm-hmm.

18                 MR. TYNDALL:      Yeah.

19                 COACH PIERRE:      So here’s what we’re going to

20     do.   We’re going to dive into Step 16.         Now, the video

21     is very short.   The step is very short, but this is

22     where you’re breaking down your SMART goals, okay?

23                 A     :   Okay.

24                 COACH PIERRE:      So take some time doing that.

25     I want to connect with you every day.       I need to hear




                                       Attachment LL                      EX 41
                                                                           2556
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 1     from you daily.     We don’t book anything going forward.

 2     We just connect on Skype.       Just message me, and we’ll

 3     have one-one-one conversations about how to get things

 4     moving, where you’re going, your target audience, your

 5     marketing plan, your budget.          And it -- because all

 6     we’ve got left is 16, 17 -- 18 is the final step,

 7     okay?

 8                 MR. TYNDALL:    Okay.

 9                 COACH PIERRE:      That’s going to trigger a

10     bunch of things in your system based on which licenses

11     you have.

12                 A      :   Okay.

13                 COACH PIERRE:      If you’re wanting to get

14     APEX, obviously you want to have them in your system

15     because that’s when I tie your affiliate links to your

16     licenses, and that’s when your ads are placed.         That’s

17     when they’re locked to their sponsors for life.

18                 MR. TYNDALL:    Okay.

19                 A      :   Okay.    So what step do we do that

20     in, Pierre?     That’s 18, like -- like --

21                 COACH PIERRE:      Between now and 18.

22                 A      :   Okay.    So you will get all of that,

23     okay.   Gotcha.

24                 COACH PIERRE:      Yep.    And, so, what we’re

25     going to do right now, and let me find you, J           .




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 1                Now,          , if you’ve got existing sources

 2     of funding, you may want to explore that.           If you

 3     want, I can give you a link to -- it’s a company

 4     called Oak Tree.

 5                A       :   Okay.

 6                COACH PIERRE:       J        , do you know -- you

 7     don’t know what your score is, right?

 8                MR. TYNDALL:    I think it’s in the mid 700s.

 9                COACH PIERRE:       Okay.     So you should qualify

10     no problem.    If you’ve got good history, right, you’ve

11     been using your credit, and you’re in the mid 700s,

12     perfect.   You’re squeaky clean.          You’re golden.   Three

13     days, they send you the approval, and from there,

14     it’s, you know, less than a week for them to get

15     everything funded and -- and done.

16                MR. TYNDALL:        Okay.

17                A       :   Okay.

18                COACH PIERRE:        Okay?    So I’ll give you guys

19     a link here if you want.        In fact, let’s do that.

20                A       :   Yeah.       Yeah, send me the link.     I

21     mean, I don’t know.     I -- I’ve been working on mine

22     anyway, so --

23                COACH PIERRE:        I’m going to do this.

24     Funding -- here’s where you can get a zero percent

25     line of credit.    Do you guys see that in the chat?




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                                                                           2558
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 1                MR. TYNDALL:      Yeah.

 2                A       :    Yeah, yeah.

 3                COACH PIERRE:      Okay, click on that real

 4     quick and I’ll show you something.         Now, these guys

 5     are really good.       In fact, they’re in Digital Altitude

 6     as well, the owners are, because they -- they --

 7     they’re just blown away at how profitable this is.

 8     And, so, you see where there’s different packages that

 9     you apply for, right?

10                MR. TYNDALL:      Okay.

11                COACH PIERRE:      Now, do you see where -- you

12     know, it’s -- by the way, you only pay the fee after

13     you’re approved, right?       Once they’ve actually secured

14     the funding for you.       So there’s no cost, there’s no

15     commitment, there’s nothing.         You’re just applying for

16     -- you know, for preapproval.

17                MR. TYNDALL:      Okay.

18                A       :    Mm-hmm.

19                COACH PIERRE:      So as we were just going

20     through our scenario, I mean, if you’re wanting to go

21     APEX, personally, I recommend 75 to 100K.          It’s --

22     it’s a line of credit.       It’s not a loan.     It’s just a

23     line of credit.

24                A       :    Mm-hmm.

25                MR. TYNDALL:      Okay.




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                                                                           2559
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 1                A     :   Okay.

 2                COACH PIERRE:     So you only pay back what you

 3     use.

 4                A     :   Okay.

 5                COACH PIERRE:     See, it’s 179.95.   That fee

 6     is paid after you’re approved.

 7                A     :   Okay.

 8                COACH PIERRE:     So go ahead and submit that.

 9     Message me once you’ve submitted that because I’ll

10     find out who -- because I’ve gotten to know some of

11     the underwriters.

12                A     :   Mm-hmm.

13                COACH PIERRE:      And I can kind of accelerate

14     things because it’s already Thursday.

15                MR. TYNDALL:      Okay.

16                COACH PIERRE:      So tomorrow’s Friday, they’re

17     on the East Coast.   Yeah, I probably won’t hear

18     anything back until tomorrow, and then we can get the

19     ball rolling.   Hopefully we can get everything done by

20     Tuesday, Wednesday of next week where at least you’ll

21     know it’s like, yep, they’re going to get you 75,000

22     bucks.

23                A     :   Okay.

24                COACH PIERRE:      Okay?

25                MR. TYNDALL:      Okay.




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 1                A        :   Okay.

 2                COACH PIERRE:        So take a look at that, and

 3     then, J        , I’m going to have you go through 16 as

 4     well.

 5                MR. TYNDALL:      Okay.

 6                COACH PIERRE:        And, so, any questions before

 7     we dive -- we wrap up here and dive into this?

 8                A        :   So the Climber level, all right,

 9     because I guess right now I’m at Walker.          To get to

10     Climber, is that just as you -- like, say, as you --

11     like, say if you go to APEX, does that -- you

12     automatically go to Climber?         Or is there --

13                COACH PIERRE:        Personally I don’t -- I can’t

14     imagine -- we got rid of Hiker, as you know.          We --

15                A        :   Right.

16                COACH PIERRE:         -- I can’t imagine

17     (inaudible) if you’re at Walker, it would be crazy to.

18                A        :   Okay.

19                COACH PIERRE:         So you’re going to -- it’s a

20     membership.      Don’t even upgrade.     Don’t even activate

21     Climber until 18.

22                A        :   Okay.

23                COACH PIERRE:         I’ll go through this with

24     you.

25                A        :   Okay.     Yeah, that’s why -- that’s




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                                                                           2561
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 1     why I kind of wanted to know --

 2                COACH PIERRE:       Yeah.   No -- no sense in

 3     doing any of that until you’re ready to launch.

 4                A     :     Right.

 5                COACH PIERRE:       Yep.

 6                A     :     Okay.

 7                COACH PIERRE:       So I’ll show you how -- how

 8     to do all of that stuff.        And at that point, you know,

 9     everything’s in place, your links are in place, you’re

10     going to have access to all of the marketing channels.

11     It triggers a bunch of stuff in your system at Step

12     18.

13                A     :     Okay.

14                COACH PIERRE:       Okay?

15                A     :     Okay, okay.

16                COACH PIERRE:       And it all hinges around

17     which licenses you want to have in your system, right?

18                A     :     Okay.

19                COACH PIERRE:       Make sense, guys?

20                A     :     Makes sense.

21                COACH PIERRE:       All right, 16.   Take your

22     time.   SMART goals.    We’re breaking everything down.

23                MR. TYNDALL:    Okay.

24                COACH PIERRE:       Apply with Oak Tree, and then

25     let me know once you’ve done that so I can find out




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                                                                           2562
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 1     from them, you know, who has the file.

 2                A       :    Okay.

 3                MR. TYNDALL:      Okay.

 4                A       :    Okay.     All right.

 5                COACH PIERRE:        And we’ll get things moving.

 6                A       :    Okay.

 7                COACH PIERRE:        Stay plugged in to the daily

 8     calls.   Message me tomorrow.           Let’s touch base on --

 9     again on a daily basis.         Next week, my wife and I are

10     traveling again.       We’re -- but I’ll be online.

11                MR. TYNDALL:         Okay.

12                A       :    Okay.     So we’re not booking the

13     call this time.    We’re just messaging you on Skype,

14     right?

15                COACH PIERRE:         Going to one-on-one.    One-on-

16     one coaching at this point.

17                A       :    Okay, sounds good.

18                COACH PIERRE:         All right?

19                MR. TYNDALL:         Okay.

20                A       :    Okay.

21                COACH PIERRE:         All right, guys.

22                MR. TYNDALL:         Thank you.

23                COACH PIERRE:         You bet.

24                A       :    All right.

25                COACH PIERRE:         Have a good one, we’ll talk




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 1     soon.

 2                A     :    Okay.

 3                COACH PIERRE:      All right, stay out of

 4     trouble.

 5                A     :    All right.    Okay.

 6                COACH PIERRE:      All right, cheers.   Bye-bye.

 7                A     :    Okay.

 8                (The call was concluded.)

 9                MR. TYNDALL:    My name is Reeve Tyndall.    I’m

10     an investigator with the Federal Trade Commission.

11     The date is October 26th, 2017.      The time is now 5:07

12     p.m., Eastern time.    This ends the recording.

13                (The recording was concluded.)

14

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 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Sara J. Vance, do hereby certify that the

 5     foregoing proceedings and/or conversations were

 6     transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

19

20

21     DATE:   11/6/2017

22                               SARA J. VANCE, CERT

23

24

25




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 1                  OFFICIAL TRANSCRIPT PROCEEDING
 2
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 1                     FEDERAL TRADE COMMISSION

 2                             I N D E X

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 4     RECORDING:                                        PAGE:

 5     ASPIRE+STARTUP+STEP+16+AUDIO                          4

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 1                     FEDERAL TRADE COMMISSION

 2

 3     In the Matter of:               )

 4     Digital Altitude                )   Matter No. 1723060

 5                                     )

 6     ------------------------------)

 7                                     Date Unknown

 8

 9

10

11                The following transcript was produced from a

12     digital file provided to For The Record, Inc. on

13     November 3, 2017.

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 1                        P R O C E E D I N G S

 2                        -    -     -    -    -

 3                    ASPIRE+STARTUP+STEP+16+AUDIO

 4                 MICHAEL FORCE:   -- Force here.   Welcome to

 5     Scale-Up Step Number 16, How to Create Success Even

 6     Faster.    Now, this step picks up a bit from Step 15

 7     and builds on it even further.    So let’s dig in and

 8     begin here.

 9                 The first point, which we’ve already covered

10     is that unless you have very clear goals and you

11     actually have a daily plan of attack, your goals are

12     not going to come true, they are not going to become a

13     reality.    You need a roadmap; you need GPS.

14                 What I want to do today is to spend some

15     extra time to make sure you are really clear on what

16     your path is and exactly what you need to do to get

17     started.    I want some firm deadlines in place.    Where

18     do you want to be 90 days from now, 180 days from now,

19     even one year from today?    I want you to take some

20     personal responsibility to getting started fast and

21     keeping up with your plan.    Spend about 30 minutes, or

22     whatever time it takes to get really clear here.

23                 I want you to make sure that you’re using

24     your coach to help you stay accountable.      Tell your

25     coach what your goals are, share it openly with them.




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 1     By now, you should have told them what you’re looking

 2     to achieve and what your income targets are, but make

 3     sure that you’re communicating with them on a day-to-

 4     day basis.    Tell them what you’re doing in your

 5     business.    Tell them what your plan of attack is.

 6                  Now, this is a tool that I want to introduce

 7     you to, and I think you’re really going to like it

 8     because it’s called Simpleology.    You can find it

 9     under Simpleology.com.    This is a program created by a

10     marketer called Mark Joyner.    I first heard about this

11     years ago but basically what it does, it helps you

12     stay on track when you’re sitting behind your computer

13     screen, it’s possibly one of the most distracting

14     devices ever invented.    It really is really good at

15     distracting you, especially when you’re online.

16     You’ve got to understand that we are -- what we’re

17     doing here is marketing, and you have to do revenue-

18     producing activities to put revenue in your pocket,

19     right?

20                  A big part of marketing is, first of all,

21     getting the attention of your prospects.    You have

22     flashy banner ads, you have eye-catching headlines,

23     you have engaging videos that people want to watch.

24     What we do in marketing, first of all, is we get

25     people’s attention and then we serve them our message.




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 1                  When you start placing ads, you’re going to

 2     be doing the same thing.     Now, what you have to

 3     realize is that there are millions of other marketers

 4     out there in virtually every niche you can imagine,

 5     and they’re doing all the exact same thing.       They are

 6     trying to get your attention.     You are being

 7     constantly distracted throughout the day.     That’s part

 8     of the reason why whenever I want to do the really

 9     important work in my day-to-day operations here at

10     Digital Altitude I like to actually get away from my

11     computer.

12                  Do you know what the most productive time is

13     literally for me?     It’s on an airplane, on a long

14     flight.     When I’m on long flights, there is no

15     internet and no one can get to me and distract me.

16     Then there’s actually when I get some of my best ideas

17     and big ideas that can really move the company

18     forward.     Now, my point is if you’re sitting behind

19     your computer constantly, you are going to get

20     distracted.     Sometimes it’s good to get away from the

21     computer to really think clearly.

22                  When you’re at your computer, then you use

23     this tool again -- it’s called Simpleology.       Basically

24     you sign up.     I don’t even know what the price is.    I

25     just know it’s cheap.     I believe you can get a 30-day




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 1     free trial as well.    You can go and try it out, but

 2     basically what it does is it will walk you through

 3     your goals and then it will help you break down them

 4     day by day with action.    It will help you stay

 5     accountable.    It’s a really good little tool for you

 6     to use, and I highly recommend it.

 7                Now, a couple more pointers on productivity.

 8     When you get into this business, this business can be

 9     any business.    It’s really easy to just run around

10     like a chicken with your head cut off all day long

11     just with no direction.    You feel like you’re getting

12     a lot done, but you’re really not getting anything

13     important accomplished at all.     You get to the end of

14     the day, you spent maybe several hours at your

15     computer, but you haven’t done anything significant.

16                The way that you avoid that is you’ve got to

17     take time to really chart out your days.     You’ve got

18     to work out what you need to do on a daily basis

19     that’s going to move your business forward.     For

20     example, if you’re promoting Digital Altitude and the

21     ASPIRE digital business system, let’s say you’re fully

22     positioned, all the way to APEX.     You’re able to earn

23     the commissions of $1,000 and $4- or $5,000, 7,500,

24     $12,000.

25                Your only job at this point is to go out and




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 1     generate name and email addresses or leads.     I’ve told

 2     you that before, but I’m going to keep on telling you

 3     it because people tend to forget.    Your only job is to

 4     get name and email addresses and leads.    So how do you

 5     get leads?

 6                  Well, you start by placing ads.   You ask

 7     yourself, where am I going to go and place ads?      What

 8     traffic method am I going to use?    Am I going to use

 9     Facebook, pay-per-click ads?    Am I going to use email,

10     solo ads?    Now, if you don’t know what any of those

11     means, that’s okay because you’re going to go through

12     our traffic training here after these first steps,

13     okay, after your scale-up steps.    You’ll work with our

14     traffic coach and you’ll go through our traffic

15     trainings.

16                  Now, one of the other things here is that

17     you’ll be able to actually map out what these

18     strategies are and how you can do them.    But you’re

19     going to have to pick one, and then you’re actually

20     going to go and start placing ads.

21                  Now, we’ll give you a couple of targets.

22     You will say, okay, today I’m going to place five new

23     ads.   Every day, I’m going to place five new ads.

24     Really, the business is quite simple for you, and

25     that’s really all you have to do.     You just have to




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 1     stay focused on what actually brings in revenue.

 2                  For you as a Digital Altitude partner, it’s

 3     simply placing ads, getting people to the capture

 4     page.     Placing ads is the -- in the right places and

 5     getting clicks from the right people, then just doing

 6     more and more of that and scaling it up.    Gets you

 7     more and more quality clicks, more and more quality

 8     leads, which are name and email addresses, and more

 9     and more buyers, which are people who buy the ASPIRE

10     digital business system.    That’s really the simplicity

11     of it.

12                  For example, if you’re promoting Digital

13     Altitude, let’s say you’re fully positioned, you

14     have the opportunity to earn very large commissions

15     here, so, again, your only job is to really get

16     leads.    You don’t have to worry about anything else.

17     Give yourself a few targets.    Say, okay, today, I’m

18     going to place five new ads, okay?    It’s very, very

19     key.

20                  Now, your assignment here for Step 16 is to

21     find ways to invent yourself out of the box, okay?

22     (Inaudible) thinking outside the box.    So let’s -- you

23     know, if you really want success, you have to find a

24     way to make it happen.     So examine today’s step in

25     detail.     Write down all of the possibilities and --




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 1     that you have personally, and when you get on the

 2     phone with your coach later, talk to him about today’s

 3     session.     Okay, very important.

 4                  Make sure he understands your goals.     Make

 5     sure he’s holding you -- or she is holding you

 6     accountable.     Use Simpleology to hold yourself

 7     accountable, and make sure that you’re doing things on

 8     a daily basis that generate leads and name and email

 9     addresses.     That is your only responsibility.     That’s

10     all you should be doing.

11                  Everything else is set up for you.     Don’t

12     reinvent the wheel, okay?     Very important for you to

13     understand.     Just go place ads, get people to your

14     website, as many as humanly possible.     The more people

15     that you get to your website, the more money you’re

16     going to make.     It’s just a simple equation.

17                  So here’s what I’d like you to really do.

18     First of all, go over your goals again that you talked

19     about in Step 15.     Keep on reinforcing them.     Okay, do

20     this every single day for the next year.     Put it on

21     your wall, whatever you got to do, get it in front of

22     you, and that is the way you will pretty much

23     guarantee that your life will change by focusing on

24     that on a daily basis.

25                  Stay -- stay accountable.   Go to




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 1     Simpleology.   Sign up for an account, get a free trial

 2     and start using it to stay on track.     And I will see

 3     you on Step 17.   We’ll see you there.    Take care.

 4                (The recording was concluded.)

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 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Sara J. Vance, do hereby certify that the

 5     foregoing proceedings and/or conversations were

 6     transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

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21     DATE:   11/6/2017

22                               SARA J. VANCE, CERT

23

24

25




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 1                  OFFICIAL TRANSCRIPT PROCEEDING
 2
                       FEDERAL TRADE COMMISSION
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 5
       MATTER NO.      1723060
 6
       TITLE           DIGITAL ALTITUDE
 7
       DATE            RECORDED:   DATE UNKNOWN
 8                     TRANSCRIBED:   NOVEMBER 6, 2017
 9     PAGES           1 THROUGH 28
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12                         ExampleHookVideo
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 1                     FEDERAL TRADE COMMISSION

 2                             I N D E X

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 4     RECORDING:                                        PAGE:

 5     ExampleHookVideo                                      4

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 1                     FEDERAL TRADE COMMISSION

 2

 3     In the Matter of:               )

 4     Digital Altitude                )   Matter No. 1723060

 5                                     )

 6     ------------------------------)

 7                                     Date Unknown

 8

 9

10

11                The following transcript was produced from a

12     digital file provided to For The Record, Inc. on

13     November 3, 2017.

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 1                        P R O C E E D I N G S

 2                        -      -      -    -      -

 3                            ExampleHookVideo

 4                 MICHAEL FORCE:      Welcome.    You’re about to

 5     receive a very special guide that reveals how you

 6     can make six figures online in the next 90 days or

 7     less.    No hype, no BS, just the honest truth about

 8     what it takes to succeed online.          Your report has been

 9     queued up and sent to your email inbox.          Look for it

10     there.

11                 While you wait for that to arrive, though,

12     I’d like to share something with you, something

13     that can make the next 90 days ones you remember

14     forever.    First, I have a question for you:         What if

15     an online millionaire offered you his entire business,

16     no strings attached?     Would you know what to do to

17     keep it running and, more importantly, keep it

18     growing?

19                 What if he offered to walk you through every

20     step of running this business, to train and coach you

21     every step of the way?        Do you think you’d be

22     successful?    Of course you would.

23                 But, first, I was just like you.        My name is

24     Michael Force, and I’m a former U.S. Marine, spent

25     four years in the United States Marine Corps, and now




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 1     a family man, and we have two young girls.     And as one

 2     of my obviously biggest, you know, passions are my

 3     kids, of course.     I know everyone says that, but it’s

 4     a big deal for me, my kids, and I love my kids, and

 5     the girls, we travel the world and we get to do a lot

 6     of things.

 7                  But one of my other passions is training,

 8     coaching, teaching people, which I’ve done for over 15

 9     years to over 100 different people, or 100 different

10     countries around the world to literally tens of

11     thousands of people.     I’ve spoken in front of, you

12     know, crowds of 50 to 500 to 5,000 and everywhere in

13     between.     It’s one of my real passions to see people

14     get results and change their -- their circumstances

15     and their situation.

16                  Now, I personally also consulted, trained,

17     mentored or worked with the top 3 percent of the

18     industry leaders and company owners over the last 15

19     years in this industry.     Again, it’s one of my -- you

20     know, things is to travel around the world and -- and

21     -- and really see what, you know, we can do to help

22     people and take them to the next level and -- and get

23     them, you know, to start an online business and -- and

24     really take that business to something big.

25                  And I‘ve been doing that for over the last




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 1     15 years very successfully.    Now, this industry

 2     changed my life and has allowed me to travel and live

 3     the life of my dreams.    I’ve been on every continent

 4     from, you know, obviously, the U.S. to Europe, to

 5     Africa, all over the Caribbean, South America, South

 6     Africa, South Pacific.    Been to all the spots in -- in

 7     Rome and Greece and just pretty much everywhere in the

 8     world, London, Paris.    To be completely honest with

 9     you, though I live a pretty darned good life.    I left

10     the prospect of a cushy corporate job and created my

11     own online income, basically write my paycheck for

12     life.

13                It didn’t happen overnight, of course.    In

14     fact, it took me several grueling and very frustrating

15     years as when I got started there wasn’t a Google or

16     the Facebook or any of these online programs that we

17     see now today and YouTube.    You know, and yet I was

18     able to finally crack the code.    I went from an income

19     of only $700 per month to an income well over six

20     figures.   And it took me less than 90 days to do it.

21                Look, the corporate job would have never

22     allowed my family to live a life like this, to travel

23     the world and spend time together and do all the

24     things you want to do with the people who are most

25     important to you.   That’s what we get to do because of




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 1     this business.

 2                Now, I don’t show you this to brag.      I just

 3     want you to know that I truly walk the walk.       For the

 4     past few years, I’ve consulted other seven- and eight-

 5     figure marketers on how to grow their businesses.

 6     Until recently, I was content to stay in the online

 7     shadows of anonymity and quietly make the type of

 8     income most people only dream of.

 9                Then I watched as a client took what I had

10     helped him build and went off the rails with it.      He

11     stopped paying commissions, lied to his customers,

12     misled his business partners.     It was a mess.   I’ve

13     seen it again time and time with some people online.

14     But when I was a Marine, we had three core principles:

15     honor, courage, and commitment.

16                As I watched my client unethically use the

17     system I had built him, I was outraged.     However, I

18     began to look around.   I realized that more and more

19     gurus seem to follow the same path.     I’m sure you’ve

20     seen a lot of their empty promises, a mountain of

21     hype, and have invested money only to be disappointed.

22     Am I right?

23                It feels to me that most marketers online

24     have completely lost the most important thing of all,

25     a sense of honor.   It’s a real shame because making




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 1     money online can be very simple.    There is absolutely

 2     no need for shenanigans, hype, or false promises.

 3     Simply tell the truth.    So I made the decision to take

 4     what I taught my millionaire clients and make it

 5     available to the average person who could really use

 6     it the most -- you.

 7                Because you deserve to be free from a job

 8     you don’t like.   You deserve to be free from financial

 9     worries.   You deserve to experience what it feels like

10     to have more money at the end of the month than you

11     know what to do with.    You deserve to live a life on

12     your own terms, to do what you want, when you want,

13     where you want, with whomever you want.    That’s the

14     definition of freedom.

15                Honestly, I feel most guys today are just

16     selling you the big, flashy, shiny stuff that made

17     them 2.3 million in 48 hours.    What they don’t tell

18     you about is the staff of 15 people who did all of the

19     technical stuff for them, the 2,000 partners that he

20     had built up over the last decade, or the 13 years he

21     spent frustrated, losing hundreds of thousands of

22     dollars, and failing miserably half a dozen times.       He

23     doesn’t share that with you because then it feels so

24     unreachable, especially if you have a day job.

25                The big launch?   Now, dang it, that sounds




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 1     so cool, but -- so you’ll buy the hype, right?        You

 2     think your money problems will be solved, and three

 3     months later, you’re still stuck in a rut.      Look, if

 4     you’ve ever wondered why others seem to make a ton of

 5     money yet you can’t, if you feel completely stuck

 6     because every course or e-book or video you buy seems

 7     to be incomplete, if you’re frustrated from failing

 8     when you can see people half as smart as you raking in

 9     the dough, I totally understand.     And please know it’s

10     not your fault.     You’ve probably heard a million

11     pieces of advice and are more confused than ever.

12     That’s okay, because today that all ends for you.

13                  Yes, because you can build a six-figure

14     business in 90 days or less, and I’m going to help you

15     do it.     Just how am I going to do that?   I am going to

16     give you my million-dollar business.     You heard that

17     correctly.     I want to hand you not only my complete

18     business model, I also want to hand you all of the

19     tools, trainings, and resources that I’ve developed

20     over 15 years of running million-dollar online

21     businesses.     From my own experience, when I travel, it

22     seems practically everyone wants to make money online

23     these days, and the reasons are all shockingly

24     similar.

25                  Working online allows you to have more time,




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 1     more freedom, the chance to travel more, the need to

 2     work less, the potential for a constantly growing

 3     income, and, most of all, the desire to no longer

 4     answer to a boss.

 5                  Trust me, when you make money online, you

 6     are the envy of all of your friends.       More

 7     importantly, you have the freedom to do what they want

 8     in life:     nice cars, tropical vacations, never

 9     answering to a boss.      Listen, you can make this dream

10     a reality.     I did.   I have worked with thousands of

11     people over the years, and I have seen that almost

12     anyone can succeed online, regardless of age,

13     education, current income, or sex.

14                  The internet is the great equalizer.          The

15     simple truth is making money online isn’t complicated.

16     All you need is the right process to follow.             And if

17     you follow the process, results are guaranteed.             Look

18     at this way.     If you bought a McDonald’s, do you think

19     you will make money?      You know you will.      Why?

20     Because McDonald’s has a time-tested and proven system

21     that you simply plug into.

22                  Here’s the good news:     If you want to start

23     making money online today, you have a huge advantage

24     that I never had:       information.   I had to spend years

25     figuring out what works.       I had to spend hundreds of




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 1     thousands of dollars to figure out what didn’t work.

 2     Because, let’s face it, there’s a lot of bad advice

 3     out there online.    My mission is to give you the tools

 4     you need to succeed right away.     That may mean that

 5     you finally earn your first dollar online.

 6                  And once you’ve earned your first dollar,

 7     I’ll show you how to earn $100.     And then I’ll show

 8     you how to earn your first $1,000.     And when you do,

 9     we will stop and celebrate those small wins because it

10     means that you have crossed the most difficult hurdle

11     there is:    making your first $1,000 online.   And your

12     income will only grow from there.     I promise you we

13     won’t stop until you earn your fist -- first six

14     figures.     You’ll have access to the right technology,

15     the right process and systems, and guidance and

16     mentorship from established entrepreneurs who have

17     already made their first million online.

18                  I spent years putting all this information

19     into one comprehensive program that I can confidently

20     say is the best of its kind.     It’s called ASPIRE, the

21     digital business system.     ASPIRE is an elite community

22     that provides all the tools you need to start making

23     money online.     You’ll earn your first dollar.   From

24     there, your coach will help you earn your first

25     $1,000.     Then you can climb to 3,000, per month.   From




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 1     that 3,000, you can go to 5,000.     And from 5,000, you

 2     can to 10,000.

 3                 ASPIRE is based on the only proven model for

 4     online success.   It’s been tested by thousands of

 5     business owners who quietly and anonymously make small

 6     fortunes online, people just like you.

 7                 ERIC GREEN:   Hey, what’s up, guys?    My name

 8     is Eric Green, based out of Charlotte, North Carolina.

 9     Really happy and excited to be doing this video about

10     the ASPIRE system and really why we planted our flag

11     and why we’ve decided to go all in with this system.

12     You know, it starts with leadership, guys.     And

13     Michael Force is a guy who’s literally traveled around

14     the world, helped tens of thousands of aspiring

15     entrepreneurs really get to the next level.       But

16     beyond that and -- and what I think is huge is the

17     fact that he has been a top producer in this industry

18     over -- for over 15 years, he and his staff, so --

19                 DION MCINTOSH:   Hi.   My name is Dion

20     McIntosh from Los Angeles, California, and I just want

21     to spend a quick minute sharing my experience with

22     ASPIRE and the digital business system and -- and why

23     I decided to -- to join forces.      For me, I’m a family

24     man, an entrepreneur.     I have three kids, a wife, lots

25     going on.    And, so, I find myself not having all the




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 1     time that I want to -- to learn.       I found ASPIRE, and

 2     it, to me, was the perfect thing because it’s a

 3     community of professionals that have been there and

 4     done that.    These are multiple six- and seven- and

 5     eight-figure earners and people that have scaled

 6     businesses and experts of branding and all the

 7     different facets of -- of marketing and business

 8     ownership and --

 9                BAKER:   Hi, guys.     My name is Baker.   I’ve

10     been marketing online successfully full-time for four

11     years, so I won’t put my name behind something that I

12     don’t truly believe in.       Basically what you get is,

13     you know, the whole package as far as when you’re

14     starting on the internet and not knowing where you

15     want to start, this basically will give you a roadmap

16     of exactly what to do with 60 hours, you guys, of

17     training available to you from seven- to eight-figure

18     marketers on the internet.       It’s a absolutely

19     incredible value.

20                  MICHAEL FORCE:    Now, you can see that they

21     are all successful because they focus on the right

22     things.   The worst thing you can do when you just

23     start out is get bogged down by the little stuff.          And

24     by little stuff I mean everything that does not result

25     in dollars in your pocket.       So to make it as easy as




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 1     possible, ASPIRE completely eliminates all of the

 2     little stuff for you.     This means you have no

 3     employees, no storefront, no overhead, no rent, no

 4     inventory.

 5                  The only expense you’ll have is a small

 6     monthly fee of $37.     This fee allows you to access

 7     everything you need to run your business.       This

 8     includes all of the tools, all of the software, all

 9     the websites, and a full team of sales experts that

10     work behind the scenes and who are at your beck and

11     call when you need them to be the most.

12                  Imagine that, having someone one-on-one that

13     you can talk to.    Look, I know you don’t know me from

14     Adam.   Today is the start of your -- our journey

15     together.    I’m sure you’ve been disappointed before.

16     I’m sure you’ve lost money, been frustrated, and maybe

17     a bit scared of being burned yet again.     So today I’m

18     waiving almost the entire maintenance fee for you.         I

19     did say I was going to give you my business, remember?

20     I do ask a very small commitment -- a single dollar.

21     That’s right.     You can get started today for only $1.

22     Why only $1?    It’s symbolic.   It represents the dollar

23     I will help you earn online.

24                  Look below this video right now.    To join

25     our ASPIRE community today, click on the red button




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 1     right now, the one that says “Get Started Now.”      You

 2     have a full 14 days to take the system for a full test

 3     drive.    You can use all of the tools, access the

 4     training, and even have your first two phone calls

 5     with your personal coach.

 6                 Follow their guidance and you’ll earn way

 7     more money in 14 days than you’ll ever watching

 8     another how-to training at home.     Plug in, follow the

 9     steps, earn a healthy profit.    Nothing could be

10     easier.   If you want to continue your journey at the

11     end of these 14 days, all you have to do is cover your

12     small maintenance fee of just $37 a month.

13                 If you don’t want to continue with ASPIRE,

14     no worries.   You can cancel at any time.    There are no

15     long-term commitments.    Just contact my support team,

16     give me your name and let me know you want to cancel.

17     That’s all there is to it.     No hassles and no hoops to

18     jump through.     You don’t have to even speak to anyone

19     on the phone.     All I ask is that you please give us 24

20     to 48 hours to cancel your account.     Fair?

21                 Look, I know that starting anything new can

22     sometimes be a bit scary, especially if you haven’t

23     experienced success in the past.     So don’t just take

24     my word for it.     See what others just like you have to

25     say and have achieved following the ASPIRE system.




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 1                  MALE TESTIMONIAL:   Truly amazing, this

 2     system.     Takes the headache out of starting your own

 3     business online.     And for me, ASPIRE is the way to go,

 4     hands down.     The simplicity of it, super.   And simple

 5     is always good for me.     Not that I’m lazy, but, you

 6     know, guys, ASPIRE, all the way.

 7                  DION MCINTOSH:   And for me, being able to

 8     just log in to one place, you know, connect with the

 9     community, connect with the coach, watch videos, look

10     at articles that are curated just for people that want

11     to accelerate their life and accelerate their

12     business.    And, so, that was the main reason why I --

13     I joined ASPIRE.

14                  ERIC GREEN:   Listen, I don’t know about you

15     guys, but if I’m going to invest my time, energy, and

16     resources into a platform, I want to make sure the

17     people that are running it are operating at the

18     highest level, at the highest performance, and that’s

19     exactly what these guys are doing.

20                  MICHAEL FORCE:   Okay, so let’s get to the

21     good stuff here.    How will you earn money when you

22     join ASPIRE?    It’s very simple.   The first thing

23     you’ll want to do is watch your special welcome video.

24     In it, I will let you know what you can expect in the

25     next days ahead.    Next, you’ll learn how to create a




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 1     special weblink.     This special link lets the system

 2     know that it’s you so you can get paid and get the

 3     credit.     All you’ll need to do is get someone to click

 4     it.

 5                  When they do, they’ll be directed to a

 6     website hosted by ASPIRE where we’ll complete the sale

 7     for you.     It gets even better because we’ll hold you

 8     by the hand and show you the exact steps to take, what

 9     ads to run.     We’ve already tested them for you so you

10     can rest assured knowing that they work, where to

11     place the ads so people see them, and how to generate

12     endless leads.     If you’re not sure what the heck a

13     lead even is, don’t worry about it.      This is all

14     covered in your training inside the community.         Your

15     leads are simply the people who buy.

16                  What are you waiting for?   Get started

17     today.     Look below this video right now and click on

18     the big red button that says “Get Started Now,” the

19     one that says “Get Started Now.”     That’s the one you

20     want to click on.     You can get started for only a

21     single dollar.     Once you’re a part of the ASPIRE

22     community, you’ll see what makes this system different

23     is that it gives you literally everything you need to

24     earn a healthy income online today.      This is not just

25     a few training videos.     It’s a comprehensive system




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 1      built on three pillars of success.

 2                   And it’s also going to give you next-level

 3      training.    This is the six startup steps right here on

 4      your screen so you can get your business off the

 5      ground with a running --

 6                   MALE TESTIMONIAL:   With the ASPIRE system,

 7      it’s really, really, you know, nice and easy to

 8      actually get along, even if you’re a beginner

 9      marketer, a newbie, as they would say or -- or

10      somebody who’s been marketing for -- for years.        So

11      you still would get some information from him.

12                   MICHAEL FORCE:   You’re going to get a number

13      of back-end sales and financial tools.     This is your

14      exclusive software and support solutions that take the

15      technical headaches out of running your online

16      business so you can focus 100 percent on earning

17      money.   Number three, coaching, networking, and

18      mentoring.     You’ll be coached by a real internet

19      millionaire.     If they can’t prove to us that they --

20      then they can’t be a coach.      It’s that simple.    This

21      way we can guarantee that you will work with someone

22      who walks the walk.

23                   BAKER:   And, also, you get a private, one-

24      on-one coach that will work with you to reaching your

25      goals.   Go ahead and get started with that.     I




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 1      definitely recommend it --

 2                  MICHAEL FORCE:   You also have access to

 3      other ASPIRE members.    These are people just like you.

 4      You can share your experiences and grow your incomes

 5      together.   It feels great to know that you have the

 6      full support of others who are in the same shoes.

 7      Imagine what it would feel like to earn your first

 8      dollar online.    And then picture going from a dollar

 9      to $10,000 a month in less than three months.

10                  That’s the type of transformation that you

11      can achieve as a member of ASPIRE.    Now, that may feel

12      like a bit of a stretch to you, especially if you’re

13      just starting out.    When you join the ASPIRE

14      community, you’ll immediately earn the right to resell

15      some of our products.     They are all-exclusive [sic]

16      business retreats, countries like Greece and Turkey.

17      These exclusive gatherings require an investment of up

18      to $20,000 per attendee.     As a member of the ASPIRE

19      program, you can earn commissions up to $9,000 for

20      sharing these events with others.

21                  I know, this is a lot of information to

22      cover in one short video, so let me put it into

23      perspective.     Let’s say you spend one hour to post

24      your special link on Craig’s List, Twitter, or

25      Facebook.   And from that you have one person who buys.




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 1      If you work just one hour a day, for five days, that’s

 2      five sales you get paid for.     And if just one out of

 3      your five sales buys our products, that could be a

 4      $9,000 commission, straight to your bank account.

 5                   If you choose to work more than one hour a

 6      day, $9,000 payouts could become a daily occurrence

 7      for you.     Imagine how that would feel.     Or you could

 8      choose to work a leisurely one-hour-a-day schedule and

 9      just earn a comfortable $10,000 a month.       It’s really

10      up to you.

11                   Now, if the idea of selling a $20,000

12      product makes you a bit nervous, I have great news for

13      you.   We do all the selling for you.       I told you a

14      moment ago I really do want to give you my million-

15      dollar business.     I keep repeating it because secretly

16      I don’t think you believe me.     I’m telling you the

17      truth.     ASPIRE is the exact system I use, and when you

18      join that exact system, it’s yours, too.

19                   This includes my team of trained salespeople

20      who will close all your leads for you.        There is no

21      other system out there that makes your online success

22      this easy.

23                   MALE TESTIMONIAL:   Testimonial here for

24      Michael Force and the ASPIRE system.        It’s a great

25      system.     It takes you through step-by-step, showing




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 1      you every step you need to take to set up a profitable

 2      business online.

 3                 MALE TESTIMONIAL:   I’ve never found any

 4      other program/product that gives so much immense

 5      value, and Michael Force really sent the envelope way

 6      beyond the big bang.    And this is going to really,

 7      really change the industry when it comes to digital

 8      entrepreneurship.    Thank you, Michael Force.   The

 9      ASPIRE system is beyond amazing.    Thank you.

10                 Click on the red button below right now, the

11      one that says “Get Started Now,” and join the ASPIRE

12      community today.    If you’ve been curious about how to

13      make money online, ASPIRE is the best place to start.

14      Here’s what you’ll get access to when you sign up for

15      ASPIRE today:   access to the complete ASPIRE video

16      training library.

17                 These videos will guide you through the

18      process of launching your business, from start to

19      finish.   On-on-one access to the world’s best private

20      coaches, coaches who will hold you by the hand and

21      help you make your first $100, $1,000, $500, or more.

22      Plus you can do it in one month or less.    Tested and

23      proven automated sales funnels.    These sales processes

24      have been built by seven-figure veteran entrepreneurs,

25      extensively tested and proven to work.     Custom




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 1      followup sequences that put your funnel on autopilot.

 2                  What if someone clicks on your special link,

 3      yet they don’t buy?    What then?   This process creates

 4      a “greased slide” that takes your customers through

 5      buying one product to the next, ultimately leading to

 6      mega-profitable, long-term relationships, high-

 7      commission resale products.    This process was

 8      specifically designed to empower you to hit the ground

 9      running.

10                  You can start earning money immediately,

11      even if you have no products of your own, because you

12      don’t need any products of your own.     We’ve already

13      done all the hard work for you.     Skip over the product

14      creation and start earning money the minute you join.

15      Tailor-made branding solutions.     Which you would

16      rather have [sic]:    the fake leather jacket from Ross

17      or the Louis Vuitton?

18                   Branding is what gives your business a

19      powerful identity that customers will pay premium for.

20      This is the single-most powerful way to guarantee

21      customer loyalty and repeat sales.     And we’ve got you

22      covered.    Cutting-edge traffic and social media.     Have

23      leads lining up on your website in no time.

24      Technology tools that will give you a ten-minute head

25      start.     This is almost unfair advantage exclusive to




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 1      ASPIRE members.

 2                   MALE TESTIMONIAL:    Yeah, ASPIRE literally

 3      has multiple products inside of the system from

 4      multiple income streams, multiple products, many of

 5      which are residual income.       So it’s literally an all-

 6      in-one platform.     It has everything from list-building

 7      to coaches to social media and branding packages to

 8      merchant account systems to everything that you’d need

 9      to run any kind of a business.

10                   On top of that, on top of the multiple

11      income streams, there are also high-end, high, big-

12      ticket, high-dollar commission conversion products

13      inside of the system.    So we’re super pumped, real

14      excited to be connected and partnered with Michael

15      Force and ASPIRE business system.

16                   MICHAEL FORCE:    Also, we -- accounting and

17      payroll services.     Take the headache out of accounting

18      and cash flow.     We automate the boring parts of

19      running a business so you can focus on the fun part,

20      earning a lot of money.       Community support forums and

21      live chat.    This will help you convert each and every

22      lead you generate so you’ll never worry about lost

23      sales ever again.     Live networking events.    Meet with

24      top entrepreneurs and start to build a network that

25      will reward you for life.       And, most importantly, when




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                                                                            2600
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 1      you join ASPIRE, you will gain instant resale rights

 2      to the complete program.

 3                 This means you have brand new products

 4      created by one of the most respected marketing teams

 5      in the world to sell right out of the gate.     Click on

 6      the red button now below, the one that says “Get

 7      Started Now,” and join the ASPIRE community today.

 8                 I’ve found that the biggest hurdle for

 9      people new to making money online is having a product

10      to sell.   Being a part of ASPIRE takes care of all of

11      that.   For you, because your first products are built

12      right in from day one.     If eventually you want to

13      branch off and do your own thing, the cutting-edge

14      trainings you’ll learn in ASPIRE will take you there,

15      yet why would you?   ASPIRE has created an entire

16      proven business system so you don’t have to.

17                 All right, I know that’s quite a bit, so let

18      me quickly summarize everything you’d get when you

19      join the ASPIRE today.     An unbeatable collection of

20      elite trainings that are updated every single month,

21      private, one-on-one coaching from internet

22      millionaires who walk you step-by-step to your own

23      financial goals, automated sales funnels to help you

24      get the most out of every lead.     Resale products that

25      will empower you to start making money online today.




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 1                  Support forums and live chat to help you

 2      convert leads into sales.     Exclusive ASPIRE community

 3      support and live chat to give you access to a head

 4      start on your online success.     Networking events where

 5      you’ll have the opportunity to meet and network with

 6      internet millionaires live and in person.

 7                  The value you’ll get as a member of this

 8      program is absolutely unbeatable.     It’s impossible to

 9      put a value on this.     Most people start out online

10      with no help, no mentors, no resources.      I know, I was

11      one of them, and it cost me years of my life and

12      thousands of dollars in costly mistakes.

13                  As a member of ASPIRE, you’ll hit the ground

14      running, with the best training and mentorship in the

15      business.   We have seen people go from complete

16      newbies to earning over $10,000 a month online in just

17      a few months.     Some of our members have even gone on

18      to become internet millionaires.

19                  So ask yourself, are you satisfied with your

20      life right now?     Do you like your job?   Are you 100

21      percent happy with the money you make now?

22                  MALE TESTIMONIAL:   It really changed my

23      life, not only in a financial standpoint, but in a

24      mind-set standpoint.    And that really is -- it’s its

25      own wake-up gold.




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 1                  MALE TESTIMONIAL:     I’m a 67-year-old baby-

 2      boomer who reached retirement age and discovered he

 3      didn’t -- didn’t have enough money to retire on, like

 4      many people of my age.

 5                  Anyway, I then discovered Michael Force and

 6      his new ASPIRE business opportunity.       Michael struck

 7      me straight away as someone who is very genuine and

 8      very honest and -- and very clearly wanting to help

 9      people.    So I jumped in.     I joined straight away, and

10      I jumped -- went to the highest level straight away,

11      got fully positioned.    And I’m so glad I did.

12                  MICHAEL FORCE:     ASPIRE provides all the

13      tools you need to start making money online today.

14      Everything.    From your products to your accounting and

15      merchant services.    It’s taken care of for you.        And

16      all you need to do is focus on growing your business.

17      It’s time you finally enjoyed the freedom and

18      lifestyle you deserve.       Don’t wait another minute.

19      Click on the red button below now, the one that says

20      “Get Started Now,” and join the ASPIRE community

21      today.    And I’ll see you on the inside.     Welcome.

22                  MALE TESTIMONIAL:     The ASPIRE business model

23      is -- is really awesome.       It’s literally the first

24      all-in-one marketing system I’ve seen in my 25-plus

25      years of marketing.     It’s literally --




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 1                BAKER:   -- definitely look around, check it

 2      out, and I’ll see you guys again soon.

 3                DION MCINTOSH:   Thank you guys for putting

 4      together such a wonderful platform.

 5                (The recording was concluded.)

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 1                   CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                 I, Sara J. Vance, do hereby certify that the

 5      foregoing proceedings and/or conversations were

 6      transcribed by me via CD, videotape, audiotape or

 7      digital recording, and reduced to typewriting under my

 8      supervision; that I had no role in the recording of

 9      this material; and that it has been transcribed to the

10      best of my ability given the quality and clarity of

11      the recording media.

12                 I further certify that I am neither counsel

13      for, related to, nor employed by any of the parties to

14      the action in which these proceedings were

15      transcribed; and further, that I am not a relative or

16      employee of any attorney or counsel employed by the

17      parties hereto, nor financially or otherwise

18      interested in the outcome of the action.

19

20

21      DATE:   11/8/2017

22                                SARA J. VANCE, CERT

23

24

25




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                              Attachment OO                           EX 41
                                                                       2606
Gmail - [Step 1] Let’s get to the top together!                        Page 2 of 3
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       Step 1 lays the foundation for you to build a 6-Figure digital
       business in 90 days… even if you’re starting from scratch.
       That’s because I did it… and in this step I am going to show you
       exactly how I did it.
       It took me several years and hundreds-of-thousands of dollars lost
       to rookie mistakes.
       You get to skip all that and go straight to making money!
       Many people jump into online marketing trying to just sell one
       product for under $100. That’s the worse way to make money
       online!
       In Step 1 you will learn all about the Ascension model and why that
       is absolutely CRITICAL to your success online. Click HERE to get
       started.
       The great thing… you already have this model built for you! It’s
       part of your membership in the ASPIRE program.
       So go watch Step 1. And then go call your coach and let them
       know the insights that you have.
       Your coach is a 6-Figure marketer. In fact, no one can be a coach
       in our business if they are not already making 6-Figures in their
       own online business.
       Your coach is someone who has walked the road before you and
       knows what works. If you were to hike Mt. Kilamanjaro in Africa,
       which would be easier: Going your own way and hope you find the
       best path?
       OR
       Find someone who has already hiked to the top and knows the
       quickest, easiest and safest route to go?
       Of course you would hire a guide. You would be foolish not to.
       Yet with online marketing I see SO many people stumbling around
       trying to find their own way.
       Lucky for you - you already have a coach who knows the way who
       is expecting your call.


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Gmail - [Step 1] Let’s get to the top together!                        Page 3 of 3
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       So go call your coach now! Click HERE to view your coach's profile
       and contact details.
       Oh, one more thing. At the bottom of the lesson there is a large
       green button. When you click on that green button, it will take you
       to a short form where you can share your thoughts on what you just
       learned.
       Is there something that you really loved that you would like us to
       cover in more detail? Or is there something that was a bit confusing
       you would like clarified?
       Either way - let us know! We are a community and we are
       committed to helping everyone be successful. Your feedback could
       be the missing link that lets someone else reach the the peak.
       I’ll see you inside Step 1.
       Let’s get to the top together.




       Michael Force
       Founder

       P.S. If you really haven’t called your coach, you’re missing out. Go
       schedule your call today! Click HERE to view your coach's profile
       and contact details.

       If you no longer wish to receive our emails, click the link below:
       Unsubscribe
       Digital Altitude, LLC 16192 Coastal Hwy Lewes, Delaware 19958 United States (800) 820-7589




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 1                   OFFICIAL TRANSCRIPT PROCEEDING
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 1                     FEDERAL TRADE COMMISSION

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 5      2017-10-16_16-59-54 (Forcefactor.me)                 4

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 1                     FEDERAL TRADE COMMISSION

 2

 3      In the Matter of:              )

 4      Digital Altitude               )   Matter No. 1723060

 5                                     )

 6      ------------------------------)

 7                                     October 16, 2017

 8

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11                The following transcript was produced from a

12      digital file provided to For The Record, Inc. on

13      October 17, 2017.

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 1                         P R O C E E D I N G S

 2                         -      -      -    -    -

 3                             Forcefactor.me

 4                 ELLA CLAUSSEN:       Hey, Ella Claussen

 5      (phonetic) here.   In my first 30 days with the system,

 6      I’ve earned a little over $10,000.

 7                 CLINTON DOUGLAS:       Hey, Everyone, Clinton

 8      Douglas here.   In just a few days after starting with

 9      this system, I was able to make over $1,200 in

10      commission.

11                 DAVE PROSSER:       It’s Dave Prosser (phonetic)

12      here.   With this system, I was able to generate over

13      $30,000 within the last ten weeks.

14                 FEMALE TESTIMONIAL:       In the last 30 days,

15      over 24,000 in (inaudible) dollars.

16                 ALFREDO:    My name is Alfredo, and I just

17      want to share with you that I’ve made $26,585 in my

18      first 30 days of using this amazing system.

19                 JASON STONE:       Jason Stone here.   $200,000

20      within the last two months promoting the system.

21                 MICHAEL FORCE:       I want you to stop whatever

22      you’re doing and pay close attention to this.         If you

23      stick around for just a few minutes, I’m going to

24      teach you a simple way that I earn big commissions

25      every day like clockwork right from the comfort of my




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 1      own home.

 2                   Hi, my name is Michael Force, and I am not a

 3      guru.     I’m just your average American.      I’m a former

 4      U.S. Marine.     I’m 44 years old.   And here’s even a

 5      picture of me with my wife and our two daughters.           I

 6      live very comfortably here in California, and I’ve

 7      been successfully running my own business online for

 8      over ten years now.

 9                   Things are pretty good.   I have no serious

10      complaints because I pretty much have everything I

11      need in life.     I’m financially free.     I have no debt.

12      And, quite frankly, I love what I do.        I work for

13      myself.     I’m healthy.   I have free time.     I enjoy

14      vacations with my family whenever and wherever I want.

15                   I may not be the richest man in the world,

16      but I have achieved more than the American dream.

17      Now, unfortunately, things weren’t always like this

18      for me.     I was financially strapped at one point.        I

19      was working in corporate sales, and when the company

20      sold out to a Fortune 500 company, I lost a six-figure

21      income overnight.     So I began frantically searching

22      online for some kind of home business.

23                   I didn’t know what to do.    I didn’t know

24      what to look for.     I didn’t know who to trust.      And I

25      really didn’t know anything about the internet.            But I




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 1      was desperate.     I had a family to take care of, and my

 2      savings was draining fast.     I spent money on programs

 3      that were supposed to get me rich, none of which

 4      worked out, of course.

 5                   It was a vicious cycle.   I faced constant

 6      failure.     No one wanted to help, and I felt like I

 7      would be stuck there forever.     Maybe you can relate.

 8      Until one night I finally found a method for making

 9      money online that actually worked.     And over the past

10      ten years, I’ve perfected that simple process and I

11      have been using it to earn commissions every single

12      day since then.

13                   And I’m not talking about little $10 or $20

14      commissions.     I’m talking about big commissions that

15      can range from $500 up to $7,500 apiece when you’re

16      qualified at the highest level in our compensation

17      plan.    Now, the method I’m about to teach you really

18      works.     It took me from being dead broke and only five

19      days away from being thrown out on the street to now

20      living in a beautiful, brand-new home in the Hollywood

21      Hills and being there full-time with my wife and

22      daughters.

23                   It took me from not being able to afford

24      dates or anniversary presents to now traveling the

25      world and having the freedom to do whatever I want




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                                                                            2617
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 1      whenever I want.    Just this past year, we spent the

 2      entire summer in France with my wife’s family.      We

 3      took trips to Mexico, Hawaii, and many other exotic

 4      locations.

 5                   And you know what is the best part?    I

 6      didn’t have to ask my boss if I could use vacation

 7      time.   I didn’t have to work overtime before I left.

 8      I didn’t even have to touch the computer or answer my

 9      phone the entire time I was gone.     And I know that may

10      sound a little crazy, but have you ever heard of

11      automated income?    I mean money that just shows up

12      whether you’re working or playing, money that

13      continually pumps into your bank account while you’re

14      on vacation, at the gym, or on a field trip with your

15      kids.

16                   I’m sure you’ve heard of it, but do you want

17      to know the key to experiencing it?     Let me give you a

18      hint.   Right now, this video is playing thousands of

19      times in all time zones across every developed country

20      in the world.    But do I have to sit there and

21      physically share the message over and over and over

22      again, working like a fool?     Do I have to keep

23      presenting over and over like some cold-call salesman?

24                   Of course not.   I only work about four days

25      a week, maybe three to five hours per day because I




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 1      actually enjoy my work and the people I’m helping.           I

 2      never have to pick up the phone or sell anything.        I

 3      take Friday, Saturday, and Sunday off almost

 4      religiously.     But do you think working that tiny

 5      amount of time affects my income?     Not at all.     Why?

 6      Because I use automation to work for me 24 hours a

 7      day, seven days a week.

 8                   So as you’re watching this video, I’m

 9      probably hanging out with my family, reading a book,

10      playing golf, hiking in the mountains, or traveling

11      somewhere.     And the money just keeps coming in, month

12      after month.     I know what you’re probably thinking,

13      right, good for me.     Well, the good thing for you is I

14      can show you how I do it.

15                   Recently, I’ve been teaching people this

16      process, and brand-new people just like you.        People

17      with no experience are getting big commissions their

18      very first week.     So I know I can teach you the

19      simple, step-by-step process as well.     But first I

20      want you to know that I’m for real, and the people

21      I’ve taught are for real.     So rather than just talk

22      about how I’ve made money with this, I want you to

23      hear from some of the people that I’ve taught.

24                   MALE TESTIMONIAL:   Made for every person,

25      whether it’s a beginner, a newbie, or an industry




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 1      veteran like myself.   It’s really made for everybody.

 2      And, so, it’s really taken off and doing exceptionally

 3      well, even better than I thought it would do just

 4      because it’s, again, built for every person.      So I’ve

 5      never seen results like this in anything I’ve done in

 6      20, 25 years of marketing.      So it’s unbelievable.

 7                  MALE TESTIMONIAL:    I’ve managed to generate

 8      over $60,000, guys, in a matter of two months.      And

 9      you’re probably asking, can I do this as well, and I

10      can sincerely say, yes, you can.      I’m a Portuguese

11      immigrant, by the way, English not even being my first

12      language.   And just by tapping into the system and,

13      you know, going through the coaches, because there is

14      a coaching system, a coaching program, I have managed

15      to generate in group sales over $650,000, guys.

16                  MALE TESTIMONIAL:    Each and every person

17      gets their own private coach, which is absolutely

18      incredibly, insanely powerful because you’re going to

19      get the opportunity to ask questions when you need

20      answers.

21                  MALE TESTIMONIAL:    No one gets left behind

22      here.   Everyone’s taken care of.     And, basically, you

23      just plug in and go.

24                  MALE TESTIMONIAL:    Look at this business

25      objectively and look for a business that has a system,




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 1      that has coaching, that has proven systems to work,

 2      people that are already making money, and if you’re

 3      joining people like that, that’s the kind of business

 4      you should join.

 5                  MALE TESTIMONIAL:    We’re already creating so

 6      many success stories, and this is just the start,

 7      guys.    So take action, take the next step, do what you

 8      got to do, and you will see success for yourself as

 9      well if you take massive action right now.

10                  MICHAEL FORCE:    Okay, so, now that you know

11      this is for real, let’s talk about how we can help

12      make it real for you.     The people you just heard all

13      have one thing in common.      They all watched my

14      training and used my simple process to start getting

15      big commissions showing up in their bank account every

16      single day.    And when you get inside the training, I’m

17      going to teach you step by step how to do the same

18      thing.

19                  The process is very simple.    There are two

20      steps, but you only need to do the first one.        We’ll

21      teach you how to find people who are interested in

22      products we’re selling.      That’s step one.   Step two,

23      we’ll follow up with those people for you and

24      recommend products to them based on their needs.

25                  And when those people turn into paying




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 1      customers, you get paid big commissions.     We teach you

 2      everything you need to start finding people and

 3      turning them into qualified leads.     But there’s one

 4      more step for us to do, and it’s a big one.     A lot of

 5      work goes into turning those people into money.     But

 6      don’t worry, when you use our affiliate program, we

 7      assign a one-on-one phone sales rep to each of our

 8      leads, follows up with each of them, recommends our

 9      products for them for you, process the sales and

10      handle the customer service for you.    Each time they

11      buy, we’ll pay you big commissions of up to $7,500.

12                With this simple, two-step process, you will

13      finally be able to earn big commissions without

14      creating your own products, without selling anything

15      over the phone, without dealing with customers,

16      returns, or fulfillment, without needing to be some

17      kind of technical wizard, and without leaving the

18      comfort of your own home.   So if making money from

19      home is something that you are really serious about

20      and you want it as fast as possible, then this is

21      probably your best and only chance to learn how to

22      make really good money with a method that’s been

23      proven to get results by tens of thousands of people.

24                Our company has already paid out over $12

25      million in commissions to people in over 30 countries




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 1      who have gone through our training and are making

 2      money using our methods.     We’ve already helped a few

 3      of those people become millionaires, but we want to

 4      help hundreds more over the next few years.

 5                 The internet is a vast ocean, and over 3.2

 6      billion users worldwide.     Our current efforts are just

 7      a small drop in the ocean.     Our goal is to be a

 8      billion-dollar company, and there’s no way that we can

 9      do that on our own.   The internet is just too big.

10      The only way that we can reach our goal is by teaching

11      people like you how to use our methods to make money

12      alongside us, and we both share in the profits.

13                 Let me break it down how it works in a

14      little more detail for you.     First, we teach you how

15      to place ads online that generate leads for us.      Then,

16      when someone buys one of our products, we pay you

17      commissions that range from 500 to 7,500 without you

18      ever having to lift a finger to sell anything over the

19      phone.   You just use the methods we teach you during

20      your training to generate those leads.     You’ll have

21      your own coach to get on the phone with and walk you

22      through the entire training process to keep you on

23      track and make sure you have everything you need.

24                 He or she will motivate you to go beyond

25      what you thought is possible, and sometimes, we all




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 1      need that little extra push to become successful.

 2      These coaches know exactly what to do, so you’re in

 3      very good hands.    But that’s not all.   We’re so

 4      committed to your success that not only will we assign

 5      you a coach, we will assign our personal sales team to

 6      work on your behalf 24 hours a day, seven days a week,

 7      to make more sales from the leads you generate.

 8                   Now, what will this sales team do?    Two

 9      words:    they’ll close sales.   Everyone knows there’s a

10      fortune to be made in phone sales.     The problem is

11      everyone hates making the calls.     But what if you

12      could make all the profits without doing any of the

13      calling yourself?    That’s what we’re going to do for

14      you right now.

15                   Our personal sales team is now your personal

16      sales team.     This staff will do the grunt work for

17      you.     They will make the phone call for you to sell

18      even more and more valuable products that pay you from

19      $500 up to $7,500 per sale when you’re qualified at

20      the highest level.

21                   And these aren’t just any products.     We are

22      the premier provider in digital business education

23      products and services, with over 200 hours of video

24      training, weekly live training with people who are

25      getting results with this right now -- workbooks,




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 1      private coaching, and even live events that are hosted

 2      in exotic locations all around the world so your new

 3      customers can experience success at a whole new level.

 4                Our sales team does the hard work of selling

 5      those products for you, and your commissions are paid

 6      every two weeks.   How would you like to earn a real

 7      income from home just working 30 minutes a day?       Our

 8      products and sales team can help make that possible.

 9                Just imagine for a moment that making great,

10      consistent income online could mean for your life.

11      Perhaps a new car, a nice family vacation, or just the

12      freedom of not having to live paycheck to paycheck,

13      worrying about how you’re going to pay the bills.

14      Trust me, I know where you are now because I’ve been

15      there before, but this changed everything for me, and

16      it will change everything for you too.

17                I used to be a broke salesman before my team

18      and I perfected this method.     I used to buy everything

19      secondhand, generic, or off brand, and not because it

20      tasted any better, believe me.     It was because I

21      didn’t have any other choice.     I’m sure you know the

22      feeling, but now that feeling of never having enough

23      is a thing of the past, and I can’t even describe how

24      good it feels to buy anything I want in cash, live

25      completely debt-free, and even help out friends and




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 1      family who also used to struggle with money.

 2                   Our goal is to help eliminate debt, increase

 3      family time, and permanently seal the financial

 4      freedom of every one of our students.    And now it’s

 5      your turn.    I’m sure you’re eager to get started and

 6      find out if you’re qualified, but first let me explain

 7      what you get if you are.

 8                   First, you will receive a simple training

 9      program that will show you how to generate leads and

10      earn commissions when you make a sale, even if you

11      have no computer skills.    It takes most people about

12      two to four weeks total to go through our entire

13      training program.    And we’ll assign a coach to help

14      you one-on-one along the way.    Our coaches are highly

15      trained online business experts, and they know how to

16      help you reach your goals as fast as possible, so you

17      will be in good hands.

18                   Once you go through our training, you’ll be

19      ready to start using these methods and earning

20      commissions.    How much time you put into generating

21      leads will depend on you.    We recommend you put in as

22      much time as possible to fast track your results, but

23      you can get started with as little as 30 minutes a

24      day.

25                   This is a massive shortcut for you, but do




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 1      you want to know what the real beauty of this entire

 2      offer really is?    That our success is tied to yours.

 3      You’ll [sic] be helping you every step of the way and

 4      making sure you have every resource you need to become

 5      one of our success stories.     Now, isn’t that awesome?

 6                  If that doesn’t excite you, well, then this

 7      will.   A lot of our partners were driving around

 8      absolutely crappy cars before joining us on this

 9      journey, so we decided to do something about it.       We

10      are so confident you’re going to be making big-time

11      waves when you hit our goal level of success, you’re

12      going to be eligible for a brand new car.     Now, what

13      kind of car?    Well, any car you want.   Yeah, you heard

14      me right.    When you follow our training and hit the

15      level of success that we expect you to, we’re going to

16      pay for your lease on a brand new car of your choice.

17                  Don’t believe me?   Let’s take a look at some

18      of the recent winners.    And as you watch this reel, I

19      want you to imagine yourself in your own brand new

20      car.    Even pick out your favorite make and model

21      because in a few short months, this can be you.        And

22      here’s the great news:    you get the brand new car,

23      plus you keep all the commissions.     That’s right.

24      This isn’t some tradeoff game at that level.     You’ll

25      be rolling in the dough and rolling down the road in a




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 1      brand new car.

 2                   Sound good?   All right, down to brass tax.

 3      I’m not going to stretch this out or delay you any

 4      more.   You want to start earning commissions right

 5      away, right?     Then pay close attention so you don’t

 6      miss out because there are probably only a few spots

 7      left at this point.

 8                   Right now, we’re looking to work with a

 9      small group of people who qualify if you can get

10      access to the training and learn my methods right away

11      if you qualify.     But, unfortunately, I can’t help

12      everyone.    Obviously, my time and my team’s time is

13      extremely limited, so we’re very picky about who we

14      work with.     And we have a strict but reasonable set of

15      criteria that needs to be met in order for us to work

16      together.

17                   Number one, you must be willing to spend at

18      least $50 a week to advertise and generate leads.

19      Number two, you must be willing to be coached by one

20      of our trainers who will walk you through our training

21      program, which should take you no longer than 30 to 45

22      minutes per day.     Number three, you must be an action-

23      taker who follows directions right away.      But don’t

24      worry, I won’t ask you to do anything that won’t put

25      money in your pocket.




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 1                If you like to sign up for programs and not

 2      follow through, this is not for you.    Teaching people

 3      that really want to change is extremely important to

 4      us, so you need to be someone who doesn’t mess around

 5      and is serious about working hard to get results.

 6      And, last but not least, you must be someone who sees

 7      a great opportunity and makes a decision to take

 8      action without hesitation because success loves speed.

 9      And we know that people who are the most successful

10      are the ones who make decisions and take action fast.

11                So if you met all this criteria I just

12      talked about -- you can spend at least $50 a week on

13      generating leads; you will work with a coach 30

14      minutes a day to complete our training program; and if

15      you’re an action-taker who makes decisions and follow

16      directions right away, congratulations, you’re

17      qualified to get access to our training and start

18      making money right away.

19                With that said, I know what you’re

20      wondering, what is this training like actually worth?

21      I’ve been asked that many times, and it’s kind of a

22      tough question because I’ve personally invested

23      millions of dollars into this, spent years perfecting

24      the process for you, and it generates a seven-figure-

25      a-year income for me and my students.    So, obviously,




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 1      to me, it’s worth a lot.     But recently, I asked a few

 2      of our new students what they thought it was worth,

 3      and they all said a minimum of $497, not a penny less.

 4                   But don’t worry, you won’t pay anywhere

 5      close to that.    You see, I didn’t put this together

 6      for people who are already making millions of dollars

 7      a year online.    I created this for my friends who are

 8      still struggling, still spinning their wheels, still

 9      stuck and unsure of the next steps to take.     That’s

10      why I’m giving it away at a special discount for our

11      new students, which includes you.

12                   Remember all those people you heard from at

13      the beginning of the video, they’re all living

14      examples of what’s possible when you follow our

15      training.    So now you must be wondering, what’s all

16      this going to cost me?     Well, listen, my goal for you

17      is to get you started within the next 30 minutes, so

18      as long as that timer is counting down, you can still

19      get in.

20                   At the rate we are growing, it’s hard to say

21      how long we’ll be accepting new members, so listen

22      carefully.    I want to remove any barriers of entry for

23      you, especially the investment needed to start.     I

24      want to help, and that’s why I’m going to completely

25      ignore the advice I got from every student I spoke to.




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 1      They said I should charge a minimum investment of $497

 2      to get access to this training.

 3                Honestly, initially, I almost did; however,

 4      I talked to my team.   I thought about it for over a

 5      week, and I decided I wanted to shake things up a bit.

 6      I wanted to do something crazy, something unheard of.

 7      I wanted to create ridiculous value and make sure that

 8      no one is left behind while our doors are still open.

 9      So rather than charge 497 or even 297 or even 197, I

10      decided that if you’re serious today and really want

11      to change your life today, I will personally make an

12      investment in you.

13                My initial group of students paid $197 to

14      get started, and they were blown away by the amount of

15      money they made, but because we want you to get

16      started without having to think about the cost, I’m

17      going to give it to you at a massive discount, totally

18      risk-free and money-back-guaranteed.    Today only, as

19      long as that timer is still counting down, you can get

20      started for just $1 today.    So if you compare that to

21      $497, what that is really worth, you’re getting an

22      instant 99 percent discount by getting started right

23      now for just $1.

24                Again, remember, my goal for you is to have

25      you start learning my methods in the next 30 minutes




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 1      or less, so that’s why I hold nothing back and made

 2      this totally risk-free and money-back-guaranteed.       So

 3      what is it going to be?   Are you ready to change your

 4      life?   Today, you’re getting a $497 value for only $1.

 5      Are you ready to start?   Just click the button below

 6      right now and fill out the safe and secure order form

 7      before the time runs out, or we’ll give your spot to

 8      someone else.

 9                 And as soon as you do, we’re going to hook

10      you up with your coach that will work with you one-on-

11      one over the phone to teach you everything you need to

12      know and hold your hand through the process.       They’ll

13      answer all of the questions, even spill their own

14      secrets that made them successful online.     We

15      handpicked these coaches because of their incredible

16      success and massive earnings using the exact same

17      method, and now they’re going to empower you to do the

18      same.   You get everything:    the training, the tools,

19      the products, along with our experience, guidance, and

20      strategies to propel you forward quickly.

21                 There is no other offer available that gives

22      you absolutely everything you need to make a full-time

23      income from home, even a retirement income your

24      friends will be jealous of.     You get it all, an over

25      $497 value at an insane discount of just $1 today,




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 1      less than the cost of taking the family to dinner and

 2      the movies.

 3                  And at this point, let me mention one thing

 4      about this $1 payment.     There is absolutely no risk at

 5      all making this payment because it’s covered by our

 6      incredible 30-day, no-questions-asked, 100 percent

 7      money-back guarantee.    There isn’t a single better

 8      guarantee on the planet.     It’s ironclad, approved, and

 9      a surefire way to give you complete confidence in

10      getting started right now.

11                  All you have to do is give it an honest try.

12      Start today, and let’s work together in changing your

13      life.    Click the button right now -- and you can

14      become one of our success stories.     Listen, we may

15      have already decided to turn new members away, so

16      don’t wait.    The only way to find out if your seat is

17      still available is to click that button below this

18      video.    If the page still loads, congratulations,

19      you’re in luck for now.     This means just for now,

20      there is a seat left for you to claim.     Fair enough?

21                  As quickly as you can, hit the checkout

22      button right now, because we are extremely close to

23      filling out all the slots.     Don’t push this off.     Do

24      it now because this offer won’t be here tomorrow.        Hit

25      the button below and get started right now, before the




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 1      timer hits zero.   I cannot wait to be working with you

 2      and seeing your life transform right before your eyes

 3      like it has for so many more.   Click the button below,

 4      fill out the safe and secure order form, and I will

 5      see you on the inside.

 6                (Pause in recording.)

 7                (The recording was concluded.)

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 1                   CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                 I, Sara J. Vance, do hereby certify that the

 5      foregoing proceedings and/or conversations were

 6      transcribed by me via CD, videotape, audiotape or

 7      digital recording, and reduced to typewriting under my

 8      supervision; that I had no role in the recording of

 9      this material; and that it has been transcribed to the

10      best of my ability given the quality and clarity of

11      the recording media.

12                 I further certify that I am neither counsel

13      for, related to, nor employed by any of the parties to

14      the action in which these proceedings were

15      transcribed; and further, that I am not a relative or

16      employee of any attorney or counsel employed by the

17      parties hereto, nor financially or otherwise

18      interested in the outcome of the action.

19

20

21      DATE:   11/6/2017

22                                SARA J. VANCE, CERT

23

24

25




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 Record # 1 / 33750586 / Consumer Sentinel Network Complaint
   Reference     33750586                                     Originator       I1111301857312052
    Number:                                                   Reference
                                                               Number:
   Language:     English                                         Contact       Complaint
                                                                   Type:
      Source:    Organization                                     DNC?:        No
  Comments:      NOTE: To prevent interference with pending law enforcement action, prior to any investigative
                 action, please contact the IC3 at SEARCH@IC3.GOV. Please check the "More Information on
                 Data Contributor Complaints" link for further details on IC3 data. --- Incident description: I was
                 told by Michael Force it was an on-line business to sell about to be released online services for
                 financial planning from David Bach author of Automatic Millionaire, membership determining
                 commission level and also if you signed up someone else to become a member you would get a
                 commission. Part of this was also a weekend event with David Bach. There were never any
                 online services, the event was not offered until well after I had asked for a refund to which I
                 have not gotten any response. There are to my knowledge no services to sell, it appears to be
                 selling other people the "oppurtunity" to sell a membership which again has no substantial
                 services behind it. I felt that was unethical and an unwilling to do that to someone else as it
                 seems deceptive. I waited almost 6 months for something else to materialize but nothing ever
                 did, then requested refund to which I have had no reply. I asked bank to dispute charge but
                 could not due to length of time elapsed.
   Complaint
  disposition
  provided?:
   Complaint
 Disposition:
         Data    More Information on Data                    Load Date:        12/01/2011 11:53:15 PM
   Reference:    Contributor Complaints?
                 (../HelpFiles/DataImportComments
                 Legend.pdf)
  Created By:    IC3-USER                                 Created Date:        11/30/2011 12:00:00 AM
 Updated By:                                                    Updated
                                                                  Date:
   Complaint     Internet Crime Complaint Center               Product         Shop-at-Home\Catalog Sales
     Source:                                                    Service
                                                            Description:
     Amount                                               Amount Paid:         $8,029.00
  Requested:
     Payment     Bank Account Debit                              Agency        External Agency
     Method:                                                    Contact:
   Complaint     11/30/2011                                 Transaction
      Date:                                                       Date:
       Initial   Internet Web Site                               Initial
     Contact:                                                Response:
 Statute/Rule:                                                       Law
                                                               Violation:




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Representative   Michael Force                         Title:
      Name:




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 Record # 2 / 37273670 / Consumer Sentinel Network Complaint
   Reference     37273670                                    Originator
    Number:                                                  Reference
                                                              Number:
   Language:     English                                        Contact       Complaint
                                                                  Type:
     Source:     Consumer                                        DNC?:        No
  Comments:      I have tried to connect with management to discuss my issues by surface mail in January 2012
                 and again in April 2012. I also tried to connect via email. February, April and May 2012 All
                 attempts failed Company Names Pro U LLC Carbon Copy Pro. CCPro. Pro U Pro Elite. Gear Up
                 Automatic Millionaire International My Grievances can be Summarized . Taking payment for
                 goods or services not provided andor taking payment for goods or services inadequately
                 provided as guaranteed and advertised. Some dates may not be 100 accurate as the website
                 for me to confirm is no longer available. Nov 2010 to Jan 2011 In discussion with a Mr. Mark
                 Hayes I was sold a package to purchase the Platinum program of CCPro. The main reason was
                 because they were closing down the original CCPro format and if one was to continue
                 effectively than an upgrade to Platinum was essential The major issue there was either
                 unwittingly or intentionally Mr. Hayes did not tell me he was a sales person for a Michael Force
                 and I would be a partner of his program. If I had known that I would not have joined. Since
                 joining this company they have consistently changed or removed parts of their program as can
                 be seen by the list of name changes and additions. Everytime this occurred it invariably required
                 more funds. Some of the name changes or additions. 2010 Carbon Copy Pro. CCPro. Pro U
                 2011 Pro Elite. Needed new Platinum membership to be effective. I paid believing I was
                 partnering with Mr. Mark Hayes 2012 Gear Up. Needed new Summit membership to be
                 effective. I resigned. Some Partnership Programs. ( Wealthmasters International. ( terminated)
                 David Bach’s Automatic Millionaire Program ( cancelled) The initial Platinum product package
                 was supposed to be delivered promptly. From memory it took at least 4-5 months. As part of the
                 package inclusions were. Membership Package. Included several books and student course
                 details etc. Received approx 45 months late. Although payment was made no effort was made
                 to reimburse the payer some funds from the obvious interest the company would have made
                 whilst they held those funds Guaranteed Mentorship. Guaranteed mentorship was erratic and
                 inconsistent. Could never be considered reliable or as claimed and advertised. Member in the
                 Platinum Program and Automatic Millionaire International program. The Automatic Millionaire
                 Program funds were taken for approximately 6 months then the program abandoned. This had
                 the effect as similar of a student been abandoned only half way through their course. In effect a
                 total waste of money. Tickets to an Exclusive Event Exclusive Seminar was never provided
                 which was promoted as similar to this the Summit Membership the companys new program. It is
                 now called Summit but in essence is the same that should have been provided by the Platinum
                 program’ “Your SUMMIT Mentorship includes a ticket for two to the SUMMIT Leadership Event
                 and accommodations and select meals at a luxury resort. Airfare is not included. To ensure
                 fairness between members, tickets are not transferable and only non-members can attend as
                 guests.” In essence. The company did not supply or what they did supply was intermittent and
                 erratic. As such it was impossible to effectively follow the training or effectively work the
                 program as advertised and paid for. My expenditure with this company and subsidiaries and
                 partnership programs $35571 To resolve the issue on a once off offer I will accept a 60 refund
                 of $21342.




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   Complaint
  disposition
  provided?:
   Complaint
 Disposition:
         Data                                            Load Date:    05/14/2012 1:07:35 AM
   Reference:
  Created By:    FTCCIS-FTCUSER                        Created Date:   05/14/2012 1:07:35 AM
 Updated By:                                               Updated
                                                             Date:
   Complaint     FTC Online Complaint Assistant            Product     Internet Information Services
     Source:     (CIS)                                      Service
                                                        Description:
     Amount      $35,771.00                            Amount Paid:    $35,771.00
  Requested:
     Payment     MasterCard Credit Card                     Agency     Internet
     Method:                                               Contact:
   Complaint     05/14/2012                             Transaction    09/01/2009
      Date:                                                   Date:
       Initial   Internet Web Site                           Initial   Internet/E-mail
     Contact:                                            Response:
 Statute/Rule:   FTC Act Sec 5 (BCP)                            Law    Deception/Misrepresentation
                                                          Violation:
       Topic:                                           Dispute with
                                                              Credit
                                                           Bureau?:
 Dispute with                                          Dispute with
       Credit                                                 Credit
     Bureau -                                              Bureau -
Responded?:                                            Resolved to
                                                      Satisfaction?:
    Member of    No                                    Cross Border    Yes
 armed forces                                           Complaint?:
           or
  dependent?:
                                          Consumer Information
   Consumer
       Small
 Business or
Organization:




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                                                  Subject
     Subject:    Carbon Copy Pro Or Pro. U .llc             Normalized     Carbon Copy Pro Or Pro. U .llc
                                                                Name:
   Address 1:    12 Broad Street                            Address 2:     Suite 403
        City:    Redbank                                    State/Prov:    New Jersey;
                 (Cleansed: Red Bank)
                 ;
         ZIP:    07701;                                       Country:     UNITED STATES;
       Email:    info@jaykubassek.com                             URL:     www.carboncopypro.com
       Phone     732-3458590                                       Ext:
     Number:
   Subject ID                                              Subject ID
       Type:                                            Issuer State:
   Subject ID
      Issuer
    Country:
Representative   Jay Kubassek                                     Title:   CEO
      Name:




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